                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


DANA STENHOLTZ
              Plaintiff,

      v.                                                   Case No. 20-C-1254

ANDREW M. SAUL,
Commissioner of the Social Security Administration
                 Defendant.


                                    DECISION AND ORDER

      Plaintiff Dana Stenholtz applied for social security disability benefits, alleging that she

could not work due to a variety of impairments, including bipolar disorder, fibromyalgia, and

obesity. An Administrative Law Judge (“ALJ”) concluded that, while these impairments were

severe, plaintiff remained capable of a range of sedentary, unskilled work.

      In this action for judicial review, plaintiff argues that, in evaluating her residual functional

capacity (“RFC”) for full-time work, the ALJ failed to account for evidence of her variable

functioning; in evaluating her statements regarding her symptoms and limitations, the ALJ

cherry picked evidence supporting his conclusion while ignoring evidence detracting from it;

and in evaluating the opinions of her treating providers, the ALJ erroneously found those

opinions unsupported by and inconsistent with other evidence of record.

      The problem with plaintiff’s arguments is that they essentially ask the court to re-weigh

the evidence and replace the ALJ’s judgment with its own. That is not the purpose of judicial

review. See Gedatus v. Saul, 994 F.3d 893, 900 (7th Cir. 2021) (“We will not reweigh the

evidence, resolve debatable evidentiary conflicts, determine credibility, or substitute our




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judgment for the ALJ’s determination so long as substantial evidence supports it.”); Karr v.

Saul, 989 F.3d 508, 511 (7th Cir. 2021) (“Substantial evidence is not a high threshold: it means

only such relevant evidence as a reasonable mind might accept as adequate to support a

conclusion.”) (internal quote marks omitted); L.D.R. v. Berryhill, 920 F.3d 1146, 1152 (7th Cir.

2019) (“Where substantial evidence supports the ALJ’s disability determination, we must affirm

the decision even if reasonable minds could differ concerning whether [the claimant] is

disabled.”) (internal quote marks omitted); see also Jeske v. Saul, 955 F.3d 583, 587 (7th Cir.

2020) (“We will uphold the ALJ’s decision if it uses the correct legal standards, is supported by

substantial evidence, and builds an accurate and logical bridge from the evidence to the ALJ’s

conclusion.”) (internal citations, quote marks, and alterations omitted).

       While it would be error for an ALJ to select and discuss only the evidence supporting his

conclusion, he need not address every piece of evidence in the record and is prohibited only

from ignoring an entire line of evidence that supports a finding of disability. Deborah M. v.

Saul, 994 F.3d 785, 788 (7th Cir. 2021); see also Denton v. Astrue, 596 F.3d 419, 425 (7th Cir.

2010) (“An ALJ has the obligation to consider all relevant medical evidence and cannot simply

cherry-pick facts that support a finding of non-disability while ignoring evidence that points to

a disability finding. But an ALJ need not mention every piece of evidence, so long he builds

a logical bridge from the evidence to his conclusion.”) (citations omitted). In the present case,

the ALJ produced a 27-page, single-spaced decision, in which he reviewed the evidence at

length. Given the size of the record, which spans 2555 pages, it is hardly surprising that

plaintiff is able to identify some evidence supporting her claim the ALJ did not mention. But this

is not a case where the ALJ simply ignored all of the favorable evidence; he cited some of that

evidence in adopting a highly restrictive RFC. See Gedatus, 994 F.3d at 901 (“[T]rue, the

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record contains evidence that could be construed as favorable to Gedatus. But the ALJ noted

some of that evidence and sided with her to a degree by determining she had severe

impairments and needed some limitations on even ‘light’ duties. This is not a case where an

ALJ ignored evidence contrary to his conclusion.”). That a different ALJ could have gone

further and found plaintiff disabled does not mean the decision was unsupported. See id. at

903 (“[T]he presence of contradictory evidence and arguments does not mean the ALJ’s

determination is not supported by substantial evidence.“). In cases involving highly variable

impairments such as bipolar disorder and fibromyalgia, “[a]lmost any conclusion an ALJ

reaches . . . may be inconsistent with some evidence in the record and consistent with other

evidence. This is where the substantial-evidence standard of review matters.” Kolar v.

Berryhill, 695 Fed. Appx. 161, 162 (7th Cir. 2017). Applying this deferential standard, I affirm

the ALJ’s decision.

                                  I. FACTS AND BACKGROUND

A.     Summary of the Case

       In the decision under review, the ALJ adjudicated two consolidated applications for

disability benefits, one filed in 2017 and the other in 2018. The record documents two previous

applications, which were denied by an ALJ in March 2013 and May 2015, respectively, when

plaintiff resided in Minnesota. (Tr. at 84, 103, 129, 133, 1629-30.)

       The medical evidence in the case is voluminous; I summarize that evidence in an

appendix to this decision.1 Plaintiff supported the 2017/2018 applications with a number of

reports from treating providers: Dr. Carlos Schenck, her treating psychiatrist prior to 2016,



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           Given the nature of plaintiff’s arguments, I have reviewed the medical record in detail.

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when she moved from Minnesota to Wisconsin; Linda Johnson, MACP, her counselor from

2008 to 2016; Carmen Kosicek, her treating psychiatric nurse practitioner in Wisconsin; Dr.

Lauren Bremberger, her primary care physician in Wisconsin; Arriann Tauer, MS, LPC, her

therapist from March 2017 to October 2018; and Debbie Wicker, her counselor beginning in

the fall of 2018. Summarized, these providers endorsed significant limitations in plaintiff’s

work-related abilities, opining that she could not maintain full-time employment due to fatigue,

pain, and diminished concentration. The record indicates that, while plaintiff graduated from

college (Tr. at 45, 1631), her work record was limited, consisting primarily of stints as an

instructor at Crown College from 2006 to 2007 and again in 2010, and part-time employment

as a member service representative/receptionist at the YMCA from late 2016 to January 2018.

(Tr. at 45, 53, 73-74, 267-70.)

B.     Plaintiff’s Applications and Agency Decisions

       Plaintiff filed the first of the two applications at issue on March 24, 2017, alleging

disability beginning on that date (Tr. at 255, 276), based on bipolar disorder, anxiety, PTSD,

fibromyalgia, and type 2 diabetes (Tr. at 281). Plaintiff indicated that she stood 5'9" tall and

weighed 386 pounds (Tr. at 281) and reported working part-time at the YMCA in member

services since 2016 (Tr. at 282).

       In a function report, plaintiff indicated she was in constant pain and often depressed

and/or anxious. (Tr. at 293.) She reported doing very little around the house (Tr. at 294-96),

with hobbies of reading, playing computer games, and watching Netflix (Tr. at 297). She

attended church once per week and visited her brother twice a month. (Tr. at 297.) She wrote

that she could not do anything physical without pain (Tr. at 298), nor could she could handle

stress or changes in routine (Tr. at 299).

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       In a physical activities addendum, plaintiff reported that she could continuously sit for

½ hour, stand for five minutes and walk for five minutes, and in a day sit “most of the hours,”

stand “no hours” and walk “no hours.” (Tr. at 301.) Her doctor had limited lifting to 10 pounds.

Plaintiff wrote that she had quit or been fired from most of her jobs because she would “burn

out” and could not “keep up the hours or the work or [would] miss so much that they let [her]

go.” (Tr. at 301.)

       The agency denied the application initially in August 2017 (Tr. at 143, 161), based on

the reviews of Esther Lefevre, Ph.D., who found plaintiff mildly to moderately limited in mental

functioning (Tr. at 135, 140), and Mina Khorshidi, M.D., who found plaintiff capable of lifting 20

pounds occasionally and 10 pounds frequently, standing/walking two hours in an eight-hour

day, and sitting six hours in an eight-hour day (Tr. at 137).

       Plaintiff requested reconsideration (Tr. at 172), indicating that she had decreased her

work schedule since April 2017, reducing from 20 hours per week to three-five after taking a

leave of absence (Tr. at 318). She reported that, when she did not have an appointment or

work, she went back and forth from laying in bed to watching Netflix, all day long. She had no

energy or desire to do anything. (Tr. at 318.)

       In November 2017, the agency maintained the denial (Tr. at 159, 176), based on the

reviews of Stephen Kleinman, M.D. (Tr. at 152, 156-57) and George Walcott, M.D. (Tr. at 153-

54), who agreed with the previous assessments. Plaintiff requested a hearing (Tr. at 188), and

on March 20, 2018, she appeared with counsel before an ALJ. (Tr. at 41-81.) On May 15,

2018, the ALJ issued an unfavorable decision (Tr. at 13-34), and on July 10, 2018, the Appeals

Council denied administrative review (Tr. at 1, 1525). Plaintiff sought judicial review (Tr. at

1531), and on July 30, 2019, the district court remanded for further proceedings (Tr. at 1539-

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61).

       Meanwhile, plaintiff had filed a new application for benefits on August 2, 2018, alleging

disability as of that date. (Tr. at 1564, 1754.) In a function report accompanying that filing,

plaintiff indicated that she could not go out in public, found it painful to sit or stand for too long,

and could not concentrate or remember directions. She also experienced crying spells and

panic attacks. (Tr. at 1769.) In a physical activities addendum, plaintiff reported that she could

continuously sit for ½ hour, stand for 10 minutes and walk for 10 minutes, and in a day sit six

hours, stand one hour and walk ½ hour. (Tr. at 1777.) She wrote that she had quit or been

let go from past jobs due to inability to work every day she was scheduled or calling in sick or

going home because of pain or panic attacks. (Tr. at 1777.)

       The agency denied the new application at the initial level (Tr. at 1566), based on the

review of Catherine Bard, Psy.D., who found mild to moderate mental limitations (Tr. at 1576,

1583-85), such that plaintiff remained capable of the basic mental demands of unskilled work

on a sustained basis (Tr. at 1579, 1585), and Mina Khorshidi, who found plaintiff capable of

sedentary work (Tr. at 1581-83). Plaintiff sought reconsideration, but the agency maintained

the denial (Tr. at 1589), based on the reviews of Pat Chan, M.D., who found plaintiff capable

of sedentary work with no concentrated exposure to dust or fumes (Tr. at 1602-04), and Jason

Kocina, Psy.D., who found moderate mental limitations (Tr. at 1600, 1604-06). In his mental

RFC assessment, Dr. Kocina opined that plaintiff was able to recall and carry out one to three

step instructions, but would have difficulty with more complex instructions (Tr. at 1604); would

generally be able to focus to complete tasks of one to three steps, but would have increasing

difficulty with more complex tasks (Tr. at 1605); would do best in jobs that do not require

frequent public contact and would not be expected to have difficulty getting along with

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coworkers, but would likely have occasional minor problems reacting appropriately to criticism

from supervisors (Tr. at 1605-06); and would do best in a job that does not require changing

tasks from day to day, but rather has a fairly regular set of duties and expectations (Tr. at

1606).

         On September 16, 2019, the Appeals Council vacated the ALJ’s decision on the 2017

application and remanded for further proceedings consistent with the district court’s order. (Tr.

at 1564.) The Council also directed the ALJ to consolidate the 2017 and 2018 applications and

issue a new decision on the consolidated claims. (Tr. at 1564.)

C.       Hearing on Remand

         On December 11, 2019, plaintiff appeared with counsel for her hearing on remand. (Tr.

at 1494-95.) Plaintiff testified that she had not worked since January 2018. (Tr. at 1505.) Nor

had she looked for a job, indicating that the idea of working caused a panic attack. (Tr. at

1505-06.) She further alleged frequent migraine headaches starting in April 2019, for which

she took medication. For her mental health, she saw a psychiatric nurse practitioner and a

therapist. (Tr. at 1506.) The therapist saw her at no charge because she could not find anyone

who took her insurance. She had been seeing the therapist, Debbie Wicker, weekly since

November 2018. (Tr. at 1507.) Wicker listed her qualifications as “CCC, MED, SOC”; plaintiff’s

counsel did not know what those letters stood for. (Tr. at 1507.) Counsel further stated that

Wicker provided no treatment notes in response to his request, just her assessment and a

letter. Plaintiff explained that they met weekly in a private room in a library close to plaintiff’s

home, and Wicker “really doesn’t keep notes.” (Tr. at 1503.)

         On reviewing the medical records, the ALJ noted that plaintiff appeared to gain benefit

regarding her pain and physical limitations from aquatic therapy treatments. Plaintiff testified

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that “it helped while I was doing it, but they didn’t recommend me getting more treatment. I

don’t know why.” (Tr. at 1508.) The ALJ asked why, if it helped, plaintiff did not try to get more,

and plaintiff responded: “It was a long drive, and it was a couple times a week. And it was very

hard to get there. And I felt like the effort of going wasn’t worth the benefit of doing it. It wasn’t

really like the long-term effect. By the time I got home, it was all worn off.” (Tr. at 1508.)

       Asked if she took medications for her fibromyalgia, plaintiff mentioned just Tylenol for

pain. She stated that the fibromyalgia medications prescribed by her doctors in the past either

did not work or she was allergic to them. (Tr. at 1509.) She testified that she stood 5'9" and

weighed 369 pounds at that time. (Tr. at 1508.)

       The ALJ asked if plaintiff had ever been hospitalized for her mental health, and she

responded not since 1996. (Tr. at 1510.) Asked why she had not tried in-patient treatment (Tr.

at 1510), plaintiff responded that she called a hospital one time and asked if she could come

in, and they would not let her “unless [she’d] already harmed [herself].” (Tr. at 1511.) She had

not asked again because she thought that is what the answer would be. (Tr. at 1511.)

       Plaintiff testified that she lived with her parents. (Tr. at 1511.) Asked what she did with

her time, plaintiff responded that she played games and looked at Facebook on her phone,

visited her brother and went to church weekly, and watched TV. (Tr. at 1512, 1515.) She

testified that she lacked the focus and concentration to read books. (Tr. at 1513.) She did not

do much around the house, spending much of the day in bed or sitting in a La-Z-Boy chair; she

lacked motivation to do more. She had lived with her parents for 10 years. (Tr. at 1514.)

       Plaintiff testified that, since the prior hearing in May 2018, she was not really manic

anymore. She might have moments where she felt really amazing, but they quickly passed.

She mostly felt depressed and anxious: “Can’t function; frozen; anxiety.” (Tr. at 1516.) The

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depression and anxiety had gotten worse. (Tr. at 1516.) At the previous hearing, plaintiff noted

about four “bad days” per month, where she did not tend to personal care, did not leave the

house, and isolated in her room; that had since doubled. (Tr. at 1516-17.) Her physical pain

from neuropathy and fibromyalgia had gotten somewhat worse. (Tr. at 1517.)

       Plaintiff testified that her last job was at the YMCA, in member services, from the end

of 2016 to January 2018. This was a sit-down job, four to five hours per week. (Tr. at 1517.)

She quit that job because it was took taxing for her brain. She indicated that she was making

mistakes and forgetting how to do the work. For instance, the job required entering codes into

a computer, and she was forgetting how to do that, also messing up on the drawer totals at the

end of her shift. (Tr. at 1518.)

       Plaintiff testified that her migraines started in April 2019, and that she experienced at

least two per week. (Tr. at 1518.) During a headache episode, she became nauseous and

light-sensitive, and had to lay down in a dark room for about three hours. (Tr. at 1519.) Her

medication decreased the length but did not change the intensity or frequency. (Tr. at 1519-

20.) She received medications for migraines from her psychiatric provider and had recently

seen a neurologist. (Tr. at 1520.)

       The ALJ elected not to take additional testimony from a vocational expert (“VE”) at this

hearing. (Tr. at 1521.) At the previous hearing on the 2017 application, a VE testified that a

person limited to sedentary work; simple, routine, and repetitive tasks with no fast-paced work;

only simple work-related decisions; no more than occasional workplace changes; and only

occasional interaction with the public, coworkers and supervisors, could not do plaintiff’s past

jobs but could work as a sorter and document preparer. (Tr. at 76-77.) The VE further testified

that employers typically permit one absence per month, two 15-minute breaks on either side

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of a 30-minute lunch period, and 10% off task behavior; exceeding these tolerances would

preclude competitive work. (Tr. at 78-79.) A need to lie down during the day to elevate the

legs above waist level at least two hours during an eight-hour workday, or for an unusual level

of supervision (in a simple, routine job), would also preclude work. (Tr. at 79-80.)

D.     ALJ’s Decision on Remand

       On February 25, 2020, the ALJ issued an unfavorable decision on the consolidated

applications. (Tr. at 1455.) Following the five-step evaluation process, the ALJ determined at

step one that plaintiff had not engaged in substantial gainful activity (“SGA”) since March 24,

2017, the initial application date. While she had worked at the YMCA after that date, this work

did not rise to the level of SGA. (Tr. at 1460.)

       At step two, the ALJ determined that plaintiff had the severe impairments of

fibromyalgia, morbid obesity, bipolar disorder, depression, PTSD, and anxiety. (Tr. at 1460.)

The record referenced a variety of other impairments, e.g., diabetes, asthma, right foot/ankle

irregularities, and headaches, but the ALJ found that these impairments caused no more than

minimal limitations on plaintiff’s ability to perform basic work activities or (in the case of her

migraines) did not satisfy the 12-month durational requirement. (Tr. at 1461, 1463.) However,

the ALJ acknowledged that in determining RFC he had to considered the limitations from all

medically determinable impairments, severe and non-severe. (Tr. at 1464.)

       At step three, the ALJ determined that none of plaintiff’s impairments met or equaled a

Listing. There are no specific Listings for fibromyalgia or obesity, although these impairments

may in conjunction with another impairment medically equal a Listing. Here, the ALJ found that

the evidence did not establish that plaintiff’s obesity or fibromyalgia medically equaled a Listing.

(Tr. at 1464.)

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       The ALJ evaluated plaintiff’s mental impairments under Listings 12.04 (depressive

disorders), 12.06 (anxiety disorders), and 12.15 (trauma and stress related disorders). Those

Listings are satisfied if the claimant has one “extreme” or two “marked” limitations under the

“paragraph B” criteria: understanding, remembering, or applying information; interacting with

others; concentrating, persisting, or maintaining pace; and adapting or managing oneself. (Tr.

at 1464.)

       The ALJ found mild limitation in understanding, remembering, or applying information,

noting that while plaintiff reported problems with completing tasks, memory, understanding, and

following instructions, the treatment records showed that she had an intact memory, average

fund of knowledge, average intelligence, coherent thought processes, and relevant thought

content. (Tr. at 1464, citing Tr. at 724.) Other records confirmed that she was oriented, with

logical thought content, and intact memory. (Tr. at 1464, citing 935, 940, 944.) The ALJ

acknowledged that the records documented abnormalities at times (e.g., guarded and easily

distracted attitude, fluctuating level of awareness, and depressed and tearful affect), but she

still had full orientation, the ability to follow commands, the ability to recall a time-line of events,

logical and organized thought processes, and no hallucinations or delusions. (Tr. at 1464-65,

citing Tr. at 2248-49.) Plaintiff also engaged in activities requiring the ability to understand,

remember, and apply information, such as playing games like Scrabble on her phone, using

Facebook, and watching television. (Tr. at 1465.)

       The ALJ found a moderate limitation in interacting with others. Plaintiff reported

symptoms that could affect this area of functioning, including a depressed mood, anger

outbursts, irritability, and panic attacks. (Tr. at 1465, citing Tr. at 723.) She also complained

of out-of-control anxiety regarding every day tasks, catastrophic thinking, ruminating thoughts,

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crying spells, limiting life participation, sleeping and hiding in her bedroom, and being

hypercritical of herself. (Tr. at 1465, citing Tr. at 2201.) However, the record indicated that

plaintiff had some ability to interact with others in a positive and appropriate manner. For

instance, the treatment records revealed reasonably good mental functioning during a number

of examinations, such as a friendly, cooperative and open attitude, good eye contact, and an

appropriate affect. (Tr. at 1465, citing Tr. at 614.) Other records showed that she had an

anxious mood and congruent affect but a cooperative attitude, normal speech, and coherent

thought processes. (Tr. at 1465, citing Tr. at 724.) She did exhibit increased abnormalities at

times, such as limited eye contact, a depressed mood and tearful affect, and speech that was

slow, soft and monotone. (Tr. at 1465, citing Tr. at 2448-49.) Yet other treatment notes around

that time continued to show cooperative behavior, no distress, good grooming, and normal

mood and affect. (Tr. at 1465, citing Tr. at 2447.) The ALJ further noted that while plaintiff

testified that she did not typically leave home without family, she had been able to work at the

YMCA as a customer service representative until she elected to stop in January 2018.

Although plaintiff indicated that she experienced social withdrawal and isolation, she also

confirmed that she was able to attend church on a weekly basis and go to her brother’s house.

(Tr. at 1465, citing Tr. at 297.) And even though she reported that she tried to avoid authority

figures, she acknowledged that she got along “fine” with them and complied with their

directions. She also indicated that she had never been fired or laid off from a job because of

problems getting along with coworkers. (Tr. at 1465, citing Tr. at 299, 1775.)

       The ALJ found a moderate limitation in concentrating, persisting, or maintaining pace.

Plaintiff reported problems with concentration and completing tasks, but the record indicated

that she had some ability to pay attention and bring tasks to completion. The treatment notes

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revealed mostly good function (with some exceptions) including intact and adequate

concentration, the ability to follow commands, and a good attention span. (Tr. at 1465, citing

Tr. at 614.) Although an examination in the fall of 2018 documented abnormalities such as

fluctuating concentration, she still had full orientation, the ability to follow commands, and

logical and organized thought processes. (Tr. at 1465, citing Tr. at 2448-49.) By October

2019, she had some abnormalities (including disheveled appearance) but an intact attention

span and concentration, orientation within normal limits, intact abstract reasoning, and the

ability to complete simple computations. (Tr. at 1465, citing Tr. at 1871.) Her testimony also

suggested that she had some capacity to sustain focus and concentration because she was

able to use Facebook, play phone games like Scrabble, watch television, and attend church.

(Tr. at 1465-66.)

       Finally, the ALJ found moderate limitation in adapting or managing oneself. Plaintiff

reported problems handling stress and changes in routine. (Tr. at 1466, citing Tr. at 298.) She

also complained of a depressed mood, feelings of helplessness or hopelessness, feelings of

anxiety, anger outbursts, decreased energy, irritability, panic attacks, passive suicidal ideation,

a history of manic episodes, trauma flashes, and low self-esteem. (Tr. at 1466, citing Tr. at

723, 728.) Yet the record indicated that she had some capacity to adapt to change and take

care of herself. The treatment records showed that she was well-groomed with a cooperative

and friendly attitude, appropriate affect, intact judgment, good insight, and no suicidal thoughts.

(Tr. at 1466, citing Tr. at 625.) Although she appeared disheveled with an anxious mood and

congruent affect in March 2017, she still exhibited a cooperative attitude, intact judgment, fair

insight, and no hallucinations or delusions. (Tr. at 1466, citing Tr. at 724.) She also indicated

that psychiatric medications and therapy were helpful for her mental conditions at times. (Tr.

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at 1466, citing Tr. at 602-713.) When she had increased symptoms, her medication regimen

was adjusted to afford better control of her impairments. (Tr. at 1466, citing Tr. at 2443-97.)

Despite the severity of her reported symptoms, she did not receive any inpatient care during

the relevant period. She testified that she called one time in the past about inpatient care and

was told that she would not be admitted unless she had already tried to hurt herself. She

explained that she thought she would get that same response again. Assuming that a medical

worker would tell a person that they had to hurt themselves to be admitted, the ALJ noted tat

the evidence revealed plaintiff’s symptoms had not gotten to the point where she sought

admission or her parents tried to have her admitted. (Tr. at 1466.)

       Because plaintiff’s mental impairments did not cause two marked or one extreme

limitation, the paragraph B criteria were not satisfied. The ALJ acknowledged that the

paragraph B criteria are not an RFC assessment but are used at steps two and three of the

evaluation process. The mental RFC used at steps four and five require a more detailed

assessment of mental functioning, and the RFC in the ALJ’s decision reflected the degree of

limitation he found in the paragraph B mental function analysis. (Tr. at 1466.)

       Prior to step four, the ALJ found that plaintiff had the RFC to perform sedentary work,

except that she was limited to simple, routine and repetitive tasks, no fast-paced work, only

simple work-related decisions, occasional workplace changes, and occasional interaction with

the public and supervisors. (Tr. at 1466.) In making this finding, the ALJ considered plaintiff’s

statements regarding her symptoms and the medical opinion evidence. (Tr. at 1467.)

       In considering plaintiff’s symptoms, the ALJ noted the required two-step process, under

which he first had to determine whether plaintiff had an underlying medically determinable

impairment that could reasonably be expected to produce her pain or other symptoms.

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Second, once such an impairment was shown, he had to evaluate the intensity, persistence,

and limiting effects of the symptoms to determine the extent to which they affected plaintiff’s

ability to work. For this purpose, if the statements were not substantiated by objective medical

evidence, the ALJ had to consider the other evidence in the record to determine if the

symptoms limited plaintiff’s work-related abilities. (Tr. at 1467.)

       Plaintiff primarily alleged disability due to mental impairments, fibromyalgia, obesity, and

diabetes with complications. She asserted that these conditions affected her ability to lift,

squat, bend, stand, reach, walk, sit, kneel, talk, hear, climb stairs, see, remember, complete

tasks, concentrate, understand, follow instructions, and use her hands. (Tr. at 1467.) The ALJ

noted that plaintiff lived with her parents. While she previously attended college, she had a

very limited employment record. She worked at the YMCA part-time after the alleged onset

date, but she eventually asked for a leave of absence. While she testified that she did not

typically leave the house alone, she had been able to work at the YMCA as a customer service

representative until she stopped in January 2018. She testified that she was unable to keep

going to the job due to her health conditions. (T r. at 1467.)

       The ALJ concluded that, while plaintiff’s medically determinable impairments could

reasonably be expected to cause the alleged symptoms, her statements concerning the

intensity, persistence, and limiting effects of these symptoms were not entirely consistent with

the medical and other evidence of record. (Tr. at 1467.) In support of this finding, the ALJ first

reviewed the medical evidence.

       The medical evidence showed that plaintiff had fibromyalgia, with her symptoms at times

labeled as chronic pain syndrome. (Tr. at 1467, citing Tr. at 905-06, 979.) She reported

numerous symptoms, including constant pain all over the body. (Tr. at 1467, citing Tr. at 798.)

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She described the pain as burning, sharp, aching, throbbing, shooting, and tingling; asserted

that prolonged activity such as sitting, standing, or walking made the pain worse; and stated

that the pain negatively affected her sleep pattern. (Tr. at 1467-68, citing Tr. at 798.) She

further asserted that she experienced severe fatigue and “fibro fog” where she could not think

clearly and became exhausted. (Tr. at 1468, citing Tr. at 584, 990.) Examinations confirmed

that she had abnormalities associated with fibromyalgia, including pain and tenderness in

several areas and tender points. (Tr. at 1468, citing Tr. at 905.)

       Plaintiff presented to a number of medical providers due to complaints of fibromyalgia

and chronic pain. In May 2017, she saw Dr. David Tylicki, a pain and rehabilitation specialist

(Tr. at 1468, citing Tr. at 900), and he recommended she take medication and attend physical

therapy (Tr. at 1468, citing Tr. at 905-06). Plaintiff later reported that she did not feel Dr. Tylicki

was helpful. (Tr. at 1468, citing Tr. at 480.) In July 2017, plaintiff saw Dr. Carly Skamra, a

rheumatologist, with complaints of pain, and Dr. Skamra observed that plaintiff was well

appearing and in no distress but positive for 18/18 tender points.2 Dr. Skamra referred plaintiff

to physiatry and deferred medication management to other providers. (Tr. at 1468, citing Tr.

at 585.)

       In August 2017, plaintiff attended an evaluation with Dr. Yechiel Kleen, a pain and

rehabilitation specialist, due to her complaints of chronic pain. At the time, she primarily took

Tylenol for pain. (Tr. at 1468, citing Tr. at 978.) On exam, Dr. Kleen made a number of


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        See Sarchet v. Chater, 78 F.3d 305, 306 (7th Cir. 1996) (“The principal symptoms [of
fibromyalgia] are ‘pain all over,’ fatigue, disturbed sleep, stiffness, and--the only symptom that
discriminates between it and other diseases of a rheumatic character--multiple tender spots,
more precisely 18 fixed locations on the body (and the rule of thumb is that the patient must
have at least 11 of them to be diagnosed as having fibromyalgia) that when pressed firmly
cause the patient to flinch.”).

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observations but did not address whether plaintiff had tender points. Dr. Kleen believed that

she had chronic pain syndrome, fibromyalgia, physical de-conditioning, sleep difficulties, and

morbid obesity. Dr. Kleen suggested that plaintiff’s antidepressant medication be increased

to help control pain, and that she attend physical therapy, complete independent water therapy,

and see a pain psychologist. (Tr. at 1468, citing Tr. at 979.)

         Plaintiff started physical therapy in August 2017, including aquatic therapy. At the initial

visit, she described waxing and waning pain ranging from 3 to 10 on a 10-point scale. (Tr. at

1468, citing Tr. at 990.) The therapist thought that plaintiff’s symptoms were due to general

de-conditioning with added problems due to fibromyalgia, chronic pain, and balance deficits.

(Tr. at 1468, citing Tr. at 993.) The physical therapy notes stated that while plaintiff had

ongoing discomfort she usually tolerated the sessions well. (Tr. at 1468, citing Tr. at 969-

1060.)

         As of September 2017, the therapy records stated that plaintiff was doing well with the

treatment regimen. She noted some soreness after sessions but reported improved tolerance

for walking and other activities. (Tr. at 1468, citing Tr. at 1021.) She shared that she had

decreased pain with daily activities and an improved mental status with regard to what she felt

she was able to do at home. (Tr. at 1468, citing Tr. at 1022.) She further stated that she was

“surprised how well things are going.” (Tr. at 1468, quoting Tr. at 1027.)

         During sessions in October 2017, plaintiff had good tolerance to the progression of

endurance tasks and improved confidence in herself with regard to completing tasks. (Tr. at

1469, citing Tr. at 1035.) Plaintiff noted improved endurance with walking, standing, and

completing daily tasks since the start of exercise. She had a decrease in overall pain, reporting

a recent flare up with increased activities but no functional deficits because of it. She was

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advised to continue independent strengthening in the pool two to three times per week and

return to therapy if she had increased discomfort or decreased functional tolerances. She was

independent with regard to her ability to participate in water exercises. (Tr. at 1469, citing Tr.

at 1047.)

       In October 2017, Dr. Kleen agreed that plaintiff had physical de-conditioning secondary

to fibromyalgia, but she nevertheless exhibited no muscle atrophy and a normal gait. Dr. Kleen

also documented that plaintiff had sleep difficulties secondary to fibromyalgia but nevertheless

observed that she was alert and oriented at the visit. (Tr. at 1469, citing Tr. at 1054-55.) As

of February 2018, Dr. Bremberger, plaintiff’s primary care physician, documented that plaintiff’s

fibromyalgia was a chronic problem but stable.          (Tr. at 1469, citing Tr. at 2265.)      Dr.

Bremberger typically treated plaintiff for other issues, such as acute illness. (Tr. at 1469, citing

Tr. at 2241-77.)

       The ALJ noted that at the hearing he asked plaintiff why she no longer did pool

exercises, since they seemed to help with her symptoms, and plaintiff testified that Dr. Kleen

had not recommended getting more treatment. She further stated that she did not participate

in pool therapy because it was a long drive, hard to get there, had to be done a couple times

per week, and the effort of going was not worth the benefit. She also testified that she was not

taking medications for fibromyalgia because they did not work. (Tr. at 1469.)

       The ALJ noted that the medical evidence also confirmed that plaintiff was obese, with

a body mass index (“BMI”) over 50. She underwent gastric bypass surgery in 2003, after which

she lost around 200 pounds, but she later regained weight and records from the relevant time

continued to document a BMI over 50. (Tr. at 1469.)

       However, the physical examinations indicated that plaintiff had reasonably good function

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despite her morbid obesity. In May 2017, she had a BMI of 54.98 but normal respiratory and

cardiovascular exams, and normal muscle strength in the lower extremities. (Tr. at 1470, citing

Tr. at 905.) As of August 2017, she was morbidly obese but had normal vital signs and

strength, no muscle atrophy, and a gait essentially within normal limits. (Tr. at 1470, citing Tr.

at 979.) Similarly, in November 2017, she was morbidly obese but in no distress with normal

vital signs and normal cardiovascular and pulmonary exams. (Tr. at 1470, citing Tr. at 2251.)

       As for her mental health, plaintiff was diagnosed with bipolar disorder, depression,

anxiety, and PTSD. (Tr. at 1470, citing 923, 1885.) She reported various symptoms including

a depressed mood, feelings of helplessness or hopelessness, feelings of anxiety, anger

outbursts, decreased energy, irritability, panic attacks, passive suicidal ideation, history of

manic episodes, trauma flashes, and low self-esteem. (Tr. at 1470, citing Tr. at 723, 728.) She

complained of out-of-control anxiety regarding everyday tasks, catastrophic thinking, ruminating

thoughts, crying spells, limiting life participation, sleeping and hiding in her bedroom, and being

hypercritical of herself. (Tr. at 1470, citing Tr. at 2201.) She described herself as feeling flat,

not wanting to live, and merely surviving due to the pain that contributed to depression. (Tr.

at 1470, citing Tr. at 1894.) She reported a history of substance use and alcohol abuse but

noted that she no longer used drugs and only occasionally drank alcohol. (Tr. at 1470, citing

Tr. at 724.)

       Dr. Schenck, a psychiatrist, started treating plaintiff prior to the alleged onset date. (Tr.

at 1470, citing Tr. at 824.) On September 1, 2016, Dr. Schenck had his final appointment with

plaintiff, as she was moving from Minnesota to Wisconsin. Dr. Schenck stated that plaintiff had

bipolar disorder, PTSD, generalized anxiety disorder, and insomnia. (Tr. at 1470, citing Tr. at

923.) He documented that plaintiff had a largely normal mental status exam at that time. (Tr.

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at 1470, citing Tr. at 925.) Likewise, he documented fairly good functioning during previous

exams, as plaintiff presented with a well-groomed appearance, logical thought content, intact

memory, and focused attention span/concentration. (Tr. at 1470, citing Tr. at 935, 940, 944,

956.) At the final visit, Dr. Schenck stated that plaintiff’s insomnia was controlled; her PTSD,

depression, and anxiety were stable; and she had mood stability with medications. (Tr. at

1470, citing Tr. at 923.)

       Thereafter, plaintiff saw a new provider, nurse practitioner Kosicek, for psychotherapy

and medication management throughout the period at issue. (Tr. at 1470, citing Tr. at 499-582,

602-713, 1809-68.) Kosicek assessed bipolar disorder, depression, PTSD, and anxiety. (Tr.

at 1470, citing Tr. at 614.) Kosicek monitored plaintiff’s medication regimen, which included

various prescriptions. (Tr. at 1470, citing Tr. at 615.)

       Although plaintiff reported ongoing mental health symptoms, she made a number of

positive statements to Kosicek about her functioning and treatment. For instance, in April 2017

plaintiff asserted that she was cooking, doing other things again, and feeling good. (Tr. at

1470, citing Tr. at 684.) In May 2017, plaintiff reported to Kosicek that she felt good and

treatment had been helpful. (Tr. at 1470-71, citing Tr. at 673.) In August 2017, plaintiff stated

that she was doing really well, working part-time, and house/dog sitting for her brother for two

weeks. (Tr. at 1471, citing Tr. at 639.) In December 2017, plaintiff stated that she was loving

the medication injections and things were going well. (Tr. at 1471, citing Tr. at 617.) The

treatment records did not document significant ongoing medication side effects. (Tr. at 1471.)

       Kosicek’s treatment notes also documented many examinations showing reasonably

good mental function. (Tr. at 1471, citing Tr. at 635-36, 646-47, 657-58, 669-70, 681-82, 701-

02.) For instance, Kosicek observed in December 2017 that plaintiff was well-groomed with

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a cooperative and friendly attitude, appropriate affect, normal motor activity, steady and even

gait, intact and adequate concentration, intact judgment, good insight, good attention span, and

no suicidal thoughts. (Tr. at 1471, citing Tr. at 625.) In February 2018, plaintiff presented with

a friendly, cooperative and open attitude, good eye contact, appropriate affect, the ability to

follow commands, normal thought content, intact and adequate concentration, intact judgment,

good insight, intact memory, and good attention span. (Tr. at 1471, citing Tr. at 614.) An

examination in June 2018 was largely normal. (Tr. at 1471, citing Tr. at 2333-34.) In August

2018, Kosicek stated that plaintiff had a friendly and cooperative attitude, appropriate mood,

normal motor activity, steady and even gait without complaints of pain, intact concentration,

good insight and judgment, intact memory, good attention span, and no suicidal ideation. (Tr.

at 1471, citing Tr. at 2480-81.)

       The ALJ acknowledged that plaintiff had increased problems during some appointments.

(Tr. at 1471, citing Tr. at 1894, 2448-49.) For instance, in October 2018, Kosicek noted a

disheveled appearance, guarded and easily distracted attitude, fluctuating level of awareness,

limited eye contact, depressed and tearful affect, hyperactive motor activity, uneven gait, slow

monotone speech, loose thought flow, and fluctuating concentration. However, Kosicek also

noted some good findings including full orientation, the ability to follow commands, logical and

organized thought processes, and no hallucinations or delusions. (Tr. at 1471, citing Tr. at

2448-49.) Kosicek adjusted plaintiff’s medication regimen and suggested that she try a new

drug for treatment-resistant depression. (Tr. at 1471, citing Tr. at 2450.) Primary care records

from Dr. Bremberger in the fall of 2018 documented plaintiff’s alertness, cooperative behavior,

no distress, good grooming, and normal mood and affect. (Tr. at 1471, citing Tr. at 2427.)

       In January 2019, Kosicek encouraged plaintiff to seek inpatient care after she reported

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increased symptoms including not wanting to live due to pain and depression. (Tr. at 1471,

citing Tr. at 1894.) Plaintiff denied current suicidal intentions, and Kosicek again adjusted her

medications. (Tr. at 1471, citing Tr. at 1897, 1900.)

       By October 2019, plaintiff reported that she was happy with the medication adjustment

and felt less flat, not depressed, and not too moody. She acknowledged that her symptoms

could increase and consequently took her medications every day. (Tr. at 1471, citing Tr. at

1870.) Kosicek observed that plaintiff appeared disheveled with an unsteady gait, but with

direct eye contact, coherent language, normal speech, and an appropriate attitude. (Tr. at

1471-72, citing Tr. at 1870-71.) Kosicek concluded that plaintif f had an intact attention span

and concentration, orientation within normal limits, intact memory, intact abstract reasoning,

and the ability to complete simple computations. Despite a depressed mood and flat affect,

she displayed intact judgment, good insight, no psychosis, and relevant thought content. (Tr.

at 1472, citing Tr. at 1871.)

       The ALJ noted that plaintiff also attended therapy with Arriann Tauer, MS, LPC, after

the alleged onset date. (Tr. at 1472, citing Tr. at 397-413, 723-75, 2498-2510.) In February

2018, plaintiff reported a number of symptoms, including out-of-control anxiety, catastrophic

thinking, ruminating thoughts, fear, crying spells, hypercritical thoughts about herself, and

feelings of dread. (Tr. at 1472, citing Tr. at 727.) Plaintiff reported that she had been going out

of the house two times per week to increase her mood and improve anxiety problems. (Tr. at

1472, citing Tr. at 728.) Other progress notes from Tauer contained similar information,

including plaintiff’s reports of symptoms and life stressors along with summaries of their

interactions at the sessions. (Tr. at 1472, citing 397-413, 723-75, 2498-2510.) Tauer’s

progress notes about plaintiff’s mental status in the summer and fall of 2018 stated that she

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had an anxious mood but cooperative behavior, full orientation, and logical and coherent

thought processes. (Tr. at 1472, citing Tr. at 2499-2505.)

       The ALJ concluded that while plaintiff clearly suffered from physical and mental

impairments, her allegations of disabling symptoms and limitations were not consistent with the

totality of the evidence.   The medical evidence showed that she had fibromyalgia with

significant symptoms, yet the physical therapy records revealed fairly good improvement with

pool exercises. While participating in physical therapy, plaintiff was able to increase her

physical abilities and tolerate the exercises reasonably well. She had improved endurance,

improved abilities to complete tasks, and a decrease in overall pain with physical therapy. (Tr.

at 1472.)

       The evidence also showed plaintiff was morbidly obese with a BMI over 50. Despite this

condition, she usually had physical exams with normal cardiovascular and respiratory findings,

and normal strength in the extremities. (Tr. at 1472.)

       The evidence further showed that plaintiff had multiple mental impairments, with the

progress notes suggesting waxing and waning of symptoms. Although she experienced

various symptoms, such as depressed mood, feelings of anxiety, and irritability, the treatment

records showed that she still exhibited reasonably good mental function during examinations.

(Tr. at 1472, citing Tr. at 602-723, 723-75, 923-68.) Among other things, the progress notes

showed that she exhibited a cooperative and friendly attitude, appropriate affect, intact and

adequate concentration, intact memory, average fund of knowledge, and no hallucinations or

delusions.   (Tr. at 1472-73, citing Tr. at 602-713, 723-75.)      Plaintiff also reported that

psychiatric medications and therapy were helpful. (Tr at 1473, citing Tr. at 602-713.) In sum,

the mental examinations throughout the relevant period documented mostly good findings (with

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some exceptions).       Moreover, plaintiff’s activities indicated that she did not suffer from

debilitating symptoms, as she was able to go shopping, attend church, visit family, go out to

eat with her parents, watch TV, play games, and interact with others on Facebook. (Tr. at

1473.)

         The ALJ further noted that plaintiff did not seek inpatient treatment during the period at

issue. Plaintiff testified that she did call a hospital on one occasion to inquire, only to be told

that if she needed to hurt herself to be admitted. The ALJ found it hard to imagine that a

mental health care worker would say that, but even if true plaintiff’s symptoms apparently never

reached the point where either she or her parents presented to a hospital seeking inpatient or

other intensive care. (Tr. at 1473.)

         Turning to the opinion evidence, the ALJ noted that the agency medical consultants at

the initial and reconsideration levels on the 2017 application, Drs. Khorshidi and Walcott, found

that plaintiff could perform sedentary work, but occasionally lifting 20 pounds and frequently

lifting 10 pounds.3 In the consolidated case from 2018, Dr. Khorshidi opined at the initial level

at that plaintiff could perform a full range of sedentary work, and at the reconsideration level

Dr. Chan opined that plaintiff could perform sedentary work with limited exposure to pulmonary

irritants due to her asthma. (Tr. at 1473.)

         The ALJ gave great weight to the consultants’ opinions that plaintiff could perform

sedentary work. The evidence received after the consultants offered their opinions did not

show significantly greater impairments and limitations.             Although plaintiff exhibited


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       Sedentary work involves lifting no more than 10 pounds and is primarily done seated,
with occasional walking and standing. 20 C.F.R. § 416.967(a). Light work involves lifting no
more than 20 pounds at a time, with frequent lifting or carrying of objects weighing up to 10
pounds, and “a good deal of walking or standing.” 20 C.F.R. § 416.967(b).

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abnormalities upon examination due to obesity (such as positive straight leg raising due to body

habitus), she still displayed reasonably good function despite her BMI including full muscle

strength, no dynamic weakness with ambulation, no muscle atrophy, and mostly normal

cardiovascular and pulmonary examinations. (Tr. at 1473, citing Tr. at 583-88, 885-915, 969-

1060.) While she also exhibited abnormalities due to fibromyalgia (such as positive tender

points), the medical evidence showed that her ability to function improved with physical

therapy, with an increased ability to ambulate, reduced fatigue, and lower level of pain overall

while participating in aquatic exercises. (Tr. at 1473, citing Tr. at 969-1060.) The ALJ thus

found the evidence as a whole consistent with the consultants’ opinions that plaintiff could

perform sedentary work. (Tr. at 1473-74.)

       The ALJ gave little weight to Dr. Chan’s opinion that plaintiff required a limitation

concerning pulmonary irritants. The treatment records indicated that plaintiff’s asthma, while

persistent, was mild and uncomplicated (Tr. at 1474, citing Tr. at 393, 469), and the

examinations typically revealed good function such as normal breath sounds, no respiratory

distress, no wheezes, and no rales (Tr. at 1474, citing Tr. at 458, 1319). Plaintiff reported

shortness of breath due to asthma and, notably, she was also obese and de-conditioned. (Tr.

at 1474, citing Tr. at 388, 392-93.) The ALJ found that plaintiff’s obesity, de-conditioning,

and/or shortness of breath was reasonably accommodated by limiting her to sedentary work.

(Tr. at 1474.)

       The agency psychological consultant at the initial level on 2017 application, Dr. Lefevre,

found no significant limitations in understanding and memory; moderate limitations of

concentration, persistence, or pace; mild limitations in social interaction; and moderate

limitations in adaptation. At the reconsideration level, Dr. Kleinman largely agreed with the

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initial assessment except he found plaintiff moderately limited in the ability to interact with the

general public. Specifically, he opined that plaintiff could interact with others but with minimal

public contact, the ability to focus adequately on simple tasks, and the ability to adapt to simple

changes. He further explained that plaintiff was moderately limited in maintaining attention and

concentration for extended periods, but that she had the ability to maintain attendance and

complete a normal workday and workweek without interruptions or needing more rest periods

than expected. (Tr. at 1474.)

       In the consolidated case from 2018, Dr. Bard opined in September 2018 that plaintiff

had mental difficulties but could engage in unskilled work. On reconsideration, Dr. Kocina

opined that plaintiff had moderate limitations in the paragraph B criteria, but she could recall

and carry out one to three step instructions, would do best in jobs without frequent public

contact, could get along with coworkers, would have only occasional minor problems reacting

to criticism from supervisors, and would do best at a position with a fairly regular sets of duties

and expectations. (Tr. at 1474.)

       The ALJ gave great weight to the 2017 opinions finding no significant limitations in

understanding, remembering, or applying information, and little weight to the more recent

opinions suggesting moderate limitation in this area. (Tr. at 1474.) The ALJ noted that the

evidence throughout the relevant period showed that plaintiff usually displayed intact memory,

full orientation, the ability to follow commands, and the ability to recall a time-line of events.

(Tr. at 1474-75, citing Tr. at 723-75, 2443-97.)

       The ALJ gave great weight to the consultants’ opinions that plaintiff had moderate

limitations in concentration, persistence, and pace, and in adapting and managing oneself.

These opinions were supported by evidence showing that plaintiff reported difficulty with

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concentration and had abnormalities on occasion (such as fluctuating concentration), but she

routinely exhibited intact and adequate concentration, the ability to follow commands, and a

good attention span. (Tr. at 1475, citing Tr. at 602-713, 2443-97.) These opinions were further

supported by evidence showing that plaintiff reported difficulty with handling stress and

exhibited some abnormalities (such as a disheveled appearance), but she repeatedly exhibited

a cooperative and friendly attitude, intact judgment, good insight, and no suicidal thoughts. (Tr.

at 1475, citing Tr. at 602-713, 2443-97.)

       The ALJ also gave great weight to the opinions of Drs. Kleinman, Bard, and Kocina that

plaintiff was moderately limited in the ability to interact appropriately with the public. He further

gave great weight to the opinions of Drs. Bard and Kocina that plaintiff was moderately limited

in the ability to interact with supervisors, and great weight to the opinions of Drs. Lefevre,

Kleinman, Bard and Kocina that plaintiff was not limited in the ability to interact with coworkers.

(Tr. at 1475.)

       The ALJ explained that the evidence supported moderate difficulties with the public and

supervisors.     Plaintiff reported symptoms that could affect social functioning (such as

depressed mood, social isolation/withdrawal, angry outbursts, irritability, and panic attacks), but

she still exhibited reasonably good function during many examinations. (Tr. at 1475, citing Tr.

at 602-713, 723-75.) The treatment records revealed that plaintiff had a friendly, cooperative,

and open attitude with good eye contact and an appropriate affect. (Tr. at 1475, citing Tr. at

614.) Other treatment records showed that she had an anxious mood and congruent affect but

a cooperative attitude, normal speech, and coherent thought processes. (Tr. at 1475, citing

Tr. at 724.) Although plaintiff indicated that she experienced social withdrawal, she confirmed

that she was able to attend church, work with the public at the YMCA, meet a counselor at the

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library to talk, use Facebook, and go shopping occasionally. Plaintiff reported that she got

along fine with authority figures, although she tried to avoid them, and further indicated that she

had never been fired from a job because of problems getting along with coworkers. The

evidence since these opinions did not establish significantly greater limitations regarding social

interactions. (Tr. at 1475.)

       Given her moderate mental difficulties, the RFC limited plaintiff to simple, routine and

repetitive tasks, no fast-paced work, only simple work-related decisions, occasional workplace

changes, and occasional interaction with the public and supervisors. The last of these

limitations addressed plaintiff’s problems interacting with the public and supervisors, as set

forth in the explanations by the more recent agency psychological consultants. The rest of the

limitations addressed plaintiff’s problems of concentration, persistence and pace, and ability

to adapt and manage herself. (Tr. at 1475.) The ALJ explained that the limitation to simple

tasks, no fast-paced work, and simple decisions accounted for plaintiff’s lesser ability to

concentrate, persist and maintain pace, and the limitation on workplace changes addressed

her problems of adaptation. (Tr. at 1475-76.)

       The ALJ next addressed the various opinions from plaintiff’s treating providers. The ALJ

acknowledged that, in general, more weight is given to the opinions of treating sources

because they are usually able to provide a detailed and longitudinal picture of the claimant’s

impairments. Treating source opinions are given “controlling weight” if well supported by

medically acceptable clinical and laboratory diagnostic techniques, and not inconsistent with

the other substantial evidence in the record. If the opinion is not given controlling weight, the

ALJ must consider it under the factors set forth in 20 C.F.R. § 416.927. The ALJ declined to

give controlling weigh to the treating sources’ opinions in this case. (Tr. at 1476.)

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       The ALJ first considered the February 2018 opinion from Dr. Bremberger, plaintiff’s

primary physician. Dr. Bremberger opined that plaintiff could sit for less than two hours in a

workday and stand/walk for less than two hours in a workday, and that she had to lay down for

the remainder due to fatigue, lower extremity edema, and pain. Dr. Bremberger further opined

that plaintiff had to elevate her legs at or above heart level for at least two hours during a

typical eight-hour daytime period due to lower extremity edema. Dr. Bremberger also opined

that plaintiff could occasionally handle or finger, but that her upper extremity functioning would

be significantly more impaired at least several days per month. Finally, Dr. Bremberger

determined that plaintiff required four unscheduled breaks during the workday, would be off

task 25% of the time, and would miss more than four days of work per month. (Tr. at 1476,

citing Tr. at 597-601.)

       The ALJ noted that Dr. Bremberger began treating plaintiff in December 2016, listing

diagnoses of fibromyalgia, chronic pain syndrome, peripheral neuropathy, physical de-

conditioning, chronic venous insufficiency, obesity, and diabetes. Although Dr. Bremberger

was a treating source who had the opportunity to observe plaintiff on numerous occasions, the

ALJ gave her opinion little weight. (Tr. at 1476.)

       First, the ALJ noted that Dr. Bremberger typically treated plaintiff’s acute illnesses (and

her diabetes for a period), while plaintiff’s fibromyalgia and chronic pain were treated by other

specialists. (Tr. at 1476.) The record contained no opinion from a specialist who treated

plaintiff’s fibromyalgia supporting significant work-related limitations. (Tr. at 1477.)

       Second, Dr. Bremberger offered her opinions on a checkbox style form, which did not

clearly explain which medical impairments caused specific work-related limitations. Nor did Dr.

Bremberger identify medical evidence supporting the majority of the limitations set forth. (Tr.

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at 1476.)

       Third, the ALJ found Dr. Bremberger’s opinion inconsistent with the record as a whole.

As to plaintiff’s fibromyalgia, chronic pain, and physical de-conditioning, the evidence showed

that plaintiff had good tolerance to the progression of endurance tasks and activities during

aquatic therapy, with a decrease in her overall pain with this treatment. (Tr. at 1477, citing Tr.

at 1035, 1047.) The specialist who treated plaintiff’s fibromyalgia, Dr. Kleen, observed that

plaintiff exhibited no muscle atrophy and a normal gait despite the physical de-conditioning due

to this impairment, and she appeared alert and oriented despite reported sleep difficulties. (Tr.

at 1477, citing Tr. at 1054-55.)       While Dr. Bremberger did not typically treat plaintiff’s

fibromyalgia, her progress notes stated that the condition was stable in early 2018. (Tr. at

1477, citing Tr. at 2365.) As to her obesity, diabetes, and neuropathy, Dr. Bremberger’s

treatment notes reflected largely normal physical examinations with no edema. (Tr. at 1477,

citing Tr. at Tr. at 1223, 1268-69.) A diabetic examination by a podiatrist in the fall of 2018

revealed some edema in the lower legs, but normal 5/5 muscle strength, symmetrical muscle

mass, and full range of motion (Tr. at 1477, citing Tr. at 2411), and an endocrinology visit in

July 2018 revealed no pedal edema and no sensory deficit (Tr. at 1477, citing Tr. at 2300).

       Fourth, the ALJ noted that Dr. Bremberger had previously expressed discomfort offering

an opinion about disability. In July 2017, Dr. Bremberger stated she was not comfortable

signing a form to excuse plaintiff from federal student loans due to disability. (Tr. at 1477, citing

Tr. at 1260.) In November 2017, Dr. Bremberger declined to complete a form for a work

exemption program, noting that plaintiff was then working part-time. (Tr. at 1477, citing Tr. at

1317.) Given these statements, it was unclear to the ALJ why Dr. Bremberger elected to

complete the checkbox questionnaire in February 2018, setting forth such significant

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limitations. (Tr. at 1477.) The ALJ saw nothing in Dr. Bremberger’s treatment notes or the

other medical evidence establishing that plaintiff’s condition significantly worsened as of

February 2018. (Tr. at 1477-78.) Finally, the ALJ noted that Dr. Bremberger stated, several

months before the alleged onset date, that plaintiff had no restrictions for participating in an

exercise program at the YMCA. (Tr. at 1478, citing Tr. at 1167.)

       The ALJ next considered the opinions of plaintiff’s former psychiatrist, Dr. Schenck, who

completed a form in September 2017 stating that plaintiff had mental conditions that prevented

her from engaging in substantial gainful activity. Dr. Schenck indicated that plaintiff suffered

from frequent unpredictable shifts in mood and anxiety, the daily affliction of major psychiatric

symptoms, and great variability in her ability to interact with other people. (Tr. at 1478, citing

Tr. at 595.) In March 2018, Dr. Schenck offered another medical opinion with significant

restrictions, including more than four absences per month, at least marked limitations for

interacting with others, and at least marked limitations for concentration, persisting, or

maintaining pace. (Tr. at 1478, citing Tr. at 2055-60.)

       The ALJ noted that Dr. Schenck treated plaintiff in the years prior to the alleged onset

date, up to September 2016. Although Dr. Schenck had the opportunity to regularly observe

plaintiff at visits in the past, the ALJ gave little weight to his opinions because they were

inconsistent with the medical evidence, including Dr. Schenck’s clinical findings. The ALJ

noted that in September 2016, at their last visit, Dr. Schenck stated that plaintiff’s PTSD,

depression, and anxiety were stable with medications. (Tr. at 1478, citing Tr. at Tr. at 923.)

Dr. Schenck also documented that plaintiff had a largely normal mental status exam at that

time. (Tr. at 1478, citing Tr. at 925.) During previous appointments, Dr. Schenck similarly

observed mostly good functioning, including a groomed appearance, logical thought content,

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intact memory, and focused attention span/concentration. (Tr. at 1478, citing Tr. at 925, 940,

944, 956.) Likewise, the treatment notes from plaintiff’s current provider, nurse practitioner

Kosicek, revealed that plaintiff frequently exhibited good function (with some exceptions).

Kosicek’s clinical findings showed that plaintiff had fairly unremarkable mental examinations

with adequate concentration, a cooperative and friendly attitude, and good insight on many

occasions. (Tr. at 1478, citing Tr. at 614, 625, 635-36, 646-47, 657-58, 669-70, 681-82, 701-

02.) The ALJ found these treatment records inconsistent with Dr. Schenck’s 2017 and 2018

opinions, which were offered after he stopped treated her. Further, the ALJ found Dr.

Schenck’s statement about great variability in plaintiff’s capacity to interact with others vague

and inconsistent with the clinical findings. (Tr. at 1478.)

       The ALJ next considered the February 2018 report from therapist Tauer. Tauer

assessed marked limitations in each of the four paragraph B criteria, opining that plaintiff had

substantial restrictions associated with fatigue, relating to others in the workplace, missing work

due to symptoms or treatment, traveling independently, need for unscheduled breaks, need

for supervision, and ability to adjust to changes. (Tr. at 1479, citing Tr. at 714-20.)

       The ALJ noted that Tauer started treating plaintiff for bipolar disorder and anxiety

disorder in March 2017, seeing her once or twice per week, affording her the opportunity to

observe plaintiff on numerous occasions. Nevertheless, the ALJ gave Tauer’s opinion little

weight because it was not supported by and consistent with the evidence. The ALJ noted that

Tauer’s treatment notes typically documented plaintiff’s subjective reports and summaries of

their interactions during sessions; they did not usually document complete mental examinations

and thus did not establish that Tauer was able to rely on mental status exams when offering

opinions about areas such as memory, concentration, and understanding.                Rather, the

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treatment records suggested that Tauer primarily relied on plaintiff’s subjective reports. The

ALJ further noted that Tauer based her opinion in part on plaintiff’s fibromyalgia symptoms, but

any opinion about plaintiff’s physical limitations was outside Tauer’s area of expertise.

Moreover, the objective findings documented in other treatment records were inconsistent with

Tauer’s opinion. At an initial consultation with Christen Family Solutions in March 2017,

another provider observed that plaintiff appeared disheveled with an anxious mood, congruent

affect, and variable concentration. However, she also exhibited a cooperative attitude, normal

speech, normal attention, intact memory, average fund of knowledge, intact judgment, fair

insight, average intelligence, coherent thought processes, relevant thought content, and no

hallucinations or delusions. (Tr. at 1479, citing Tr. at 724.) Likewise, Kosicek’s treatment

records revealed that plaintiff frequently exhibited good function on exam (with some

exceptions) such as adequate concentration, cooperative and friendly attitude, and good

insight. (Tr. at 1479, citing Tr. at 614, 625, 635-36, 646-47, 657-58, 669-70, 681-82, 701-02.)

       The ALJ next considered nurse practitioner Kosicek’s opinion from February 2018, in

which Kosicek opined that plaintiff had substantial restrictions associated with fatigue, relating

appropriately to others in the workplace, missing work due to symptoms or treatment, traveling

independently, need for unscheduled breaks, need for supervision, and the ability to adjust to

change. Kosicek further assessed that plaintiff had at least marked limitations in the four

paragraph B criteria. (Tr. at 1479, citing Tr. at 589-94.)

       The ALJ noted that Kosicek started treating plaintiff in March 2017, seeing her regularly

for psychotherapy and medication management. (Tr. at 1479.) As with Tauer, the ALJ found

that while Kosicek had the opportunity to regularly observe plaintiff, her opinion was entitled

to little weight because it was inconsistent with the medical evidence, including Kosicek’s own

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clinical findings. (Tr. at 1480.)

       For instance, Kosicek’s notes in December 2017 stated that plaintiff was well groomed

with a cooperative and friendly attitude, appropriate affect, normal motor activity, intact and

adequate concentration, intact judgment, good insight, good attention span, and no suicidal

thoughts. (Tr. at 1480, citing Tr. at 625.) Similarly, Kosicek observed in February 2018 that

plaintiff presented with a friendly, cooperative, and open attitude, an appropriate affect, normal

thought content without suicidal intent, intact and adequate concentration, intact judgment,

good insight, and intact memory. (Tr. at 1480, citing Tr. at 614.) Kosicek’s notes documented

other examinations wherein plaintiff exhibited reasonably good mental function. (Tr. at 1490,

citing Tr. at 635-36, 646-47, 657-58, 669-70, 681-82, 701-02.)

       Kosicek did note increased problems on some occasions for which plaintiff required

treatment. In October 2018, Kosicek’s exam findings contained a number of abnormalities

including a disheveled appearance, guarded and easily distracted attitude, fluctuating level of

awareness, limited eye contact, depressed and tearful affect, hyperactive motor activity,

speech that was slow, soft and monotone, loose but linear thought flow, and fluctuating

concentration.    However, Kosicek’s exam also had some good findings including full

orientation, the ability to follow commands, the ability to recall a time-line of events, logical and

organized thought processes/form, and no hallucinations or delusions. (Tr. at 1480, citing Tr.

at 2448-49.) Kosicek adjusted plaintiff’s medication regimen to better control the symptoms.

(Tr. at 1480, citing Tr. at 2450.) In January 2019, Kosicek encouraged plaintiff to seek inpatient

care after she reported increased symptoms including not wanting to live due to pain and

depression. (Tr. at 1480, citing Tr. at 1894.) But other records from later in 2019 indicated that

plaintiff was happy with the medication adjustments and felt less flat, not depressed, and not

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too moody. (Tr. at 1480, citing Tr. at 1870.) Kosicek observed some abnormalities (such as

with her mood and affect) but speech with a normal rate and volume, an appropriate attitude,

intact attention span and concentration, orientation within normal limits, intact memory, intact

abstract reasoning, and the ability to complete simple computations. (Tr. at 1480, citing Tr. at

1871.)

         Finally, the ALJ found that Kosicek’s opinion was not supported by the mental status

exams of other providers. For example, Dr. Bremberger documented mostly good mental

function during exams, such as normal mood and affect, normal behavior, and normal

judgment and thought content. (Tr. at 1480, citing Tr. at 1121-1438.)

         The ALJ next considered the March 2018 opinion from Linda Johnson, MA, LP, plaintiff’s

therapist from 2008 to 2016. (Tr. at 1480.) Johnson opined that plaintiff needed to lie down

three or more hours in an eight-hour daytime period due to chronic pain, fatigue, and mood

fluctuations; would have difficulties interacting with or working in proximity to others in a

workplace several times per week; would miss work more than four days per month due to

emotional problems and lack of physical stamina; would be unable to consistently and

independently leave her residence more than four days per month; would require unscheduled

breaks four to five times per day; would be off task due to limitations in attention and

concentration more than 30% of the workday; would perform full-time work on a sustained

basis less than 50% of the time due to difficulties persisting with tasks and maintaining work

pace; would require extra supervision one to two times per day to complete tasks; and had a

minimal capacity to adapt to changes in her environment or to changes that were not already

part of her daily life. Johnson further opined that plaintiff had at least marked limitations in all

four areas of the paragraph B criteria. (Tr. at 1481, citing Tr. at 916-22.)

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         The ALJ noted that Johnson saw plaintiff regularly for counseling, completing

handwritten notes documenting mental health symptoms, life stressors, and life events. (Tr.

at 1481, citing Tr. at 776-884.) Johnson believed plaintiff had bipolar disorder, PTSD, and

anxiety disorder. Even though Johnson was a treating provider who had the opportunity to

observe plaintiff on a regular basis during sessions in the past, the ALJ gave little weight to her

opinion because it was not supported by or consistent with the evidence as a whole. (Tr. at

1481.)

         First, the ALJ noted that Johnson rendered her opinion in March 2018, well over a year

after plaintiff left Minnesota; Johnson did not treat plaintiff during the alleged period of disability.

Second, the ALJ stated that Johnson’s treatment notes typically documented plaintiff’s

subjective reports about her mental health symptoms, life stressors, and life events; the notes

did not document clinical findings from full mental status examinations. (Tr. at 1481, citing Tr.

at 776-884.) This, the ALJ said, suggested that Johnson’s opinion was primarily based on

subjective reports. (Tr. at 1481.) Third, the ALJ found Johnson’s opinion inconsistent with

other treatment records throughout the period at issue. The treatment records showed that

plaintiff exhibited reasonably good mental function during examinations (with some exceptions)

despite her reports of mental health symptoms. Among other things, the progress notes

showed that plaintiff exhibited a cooperative and friendly attitude, appropriate affect, intact and

adequate concentration, intact memory, average fund of knowledge, and no hallucinations or

delusions. (Tr. at 1481, citing Tr. at 602-713, 723-75.) Finally, Johnson based her opinion in

part on plaintiff’s reports about fibromyalgia, and restrictions due to physical impairments were

outside Johnson’s area of expertise. (Tr. at 1481.)

         Lastly, the ALJ considered a January 2019 report from Wicker, plaintiff’s current mental

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health counselor. (Tr. at 1481, citing 2511-16.) Wicker asserted that plaintiff would need to

lie down due to fatigue or related symptoms three or more hours during an eight-hour work

period. Wicker declined to offer opinions on several questions—about relating appropriately

to others, missing work, and the need for unscheduled breaks—stating that these areas were

not applicable because plaintiff was unemployed. (Tr. at 1481.) Wicker then asserted that

plaintiff would be precluded from work by being off task more than 30% of a typical workday,

would efficiently perform full-time work on a sustained basis less than 50% of the time, could

not perform detailed work tasks due to anxiety, and would require extra supervision three or

more times per day. (Tr. at 1481-82.) Wicker also concluded that plaintiff had at least marked

limitations in the paragraph B criteria. (Tr. at 1482.)

       Wicker also wrote a letter on plaintiff’s behalf in October 2019, stating that she had met

with plaintiff on a weekly basis for the past year. (Tr. at 1482, citing Tr. at 1869.) According

to the letter, plaintiff was severely emotionally impaired due to childhood abuse, and Wicker

thought that plaintiff had a personality disorder characterized by avoidance. The letter further

indicated that plaintiff would be unable to work until she overcame her need for protection.

Wicker stated that plaintiff felt that she needed protection in all situations, and she suffered

from panic attacks if in a new, unfriendly, or unfamiliar situation. Wicker asserted that plaintiff

was unable to function and terrorized if trying to work by herself. According to the letter,

plaintiff almost never went anywhere without her parents. Wicker noted that plaintiff declined

to meet for counseling sessions at a coffee shop because she preferred to meet in a private

room at the library. (Tr. at 1482.)

       The ALJ found that although Wicker met with plaintiff on a regular basis to discuss

mental health problems, her statements were entitled to little weight. First, plaintiff’s attorney

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stated at the hearing that he did not think Wicker took notes during the sessions, and there

were no medical records from Wicker to support the opinion. It appeared that Wicker did not

even keep notes and, instead, she and plaintiff met at the library to talk. Second, Wicker was

not a psychiatrist, psychologist, or physician, and her responses to the questionnaire were

mostly conclusory and inconsistent with other evidence in the medical records. Third, Wicker’s

letter primarily contained a summary of plaintiff’s subjective reports, as opposed to clinical

findings. (Tr. at 1482.)

       In sum, the ALJ found the RFC supported by the medical evidence and consistent with

the agency consultants’ opinions, with a few exceptions. While the record contained numerous

treating source opinions about marked mental limitations, these opinions were inconsistent with

the medical evidence. (Tr. at 1482.)

       At step four, the ALJ found that plaintiff could not perform her past relevant work as an

instructor (light, skilled) and administrative assistant (sedentary, skilled), because the RFC

reduced her to sedentary work and contained non-exertional mental limitations precluding the

performance of skilled work. (Tr. at 1482-83.) At step five, however, the ALJ found that

plaintiff could perform other jobs, as identified by the VE at the previous hearing, including

document preparer and sorter. (Tr. at 1483.) The ALJ accordingly found plaintiff not disabled

and denied her applications. (Tr. at 1484.)

       On July 24, 2020, the Appeals Council denied review of the ALJ’s decision on the two

consolidated applications. (Tr. at 1439.) This action followed.

                                       II. DISCUSSION

       As indicated above, plaintiff challenges the ALJ’s RFC determination, evaluation of her

statements, and assessment of the medical opinions. I address each argument in turn.

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A.     RFC

       “RFC is an assessment of an individual’s ability to do sustained work-related physical

and mental activities in a work setting on a regular and continuing basis. A ‘regular and

continuing basis’ means 8 hours a day, for 5 days a week, or an equivalent work schedule.”

SSR 96-8p, 1996 SSR LEXIS 5, at *1. “The RFC assessment must be based on all of the

relevant evidence in the case record,” id. at *13, and “must consider limitations and restrictions

imposed by all of an individual’s impairments, even those that are not ‘severe.’” Id. at *14. The

RFC assessment must also include a narrative discussion describing how the evidence

supports each conclusion, citing specific medical facts and non-medical evidence and

explaining how any material inconsistencies or ambiguities in the evidence were considered

and resolved. Id. at *19.

       Plaintiff primarily argues that the ALJ failed to account for her variable functioning in the

RFC assessment. (Pl.’s Br. at 5.) See Jelinek v. Astrue, 662 F.3d 805, 814 (7th Cir. 2011)

(“[W]e have often observed that bipolar disorder, one of Jelinek’s chief impairments, is by

nature episodic and admits to regular fluctuations even under proper treatment.”); Bauer v.

Astrue, 532 F.3d 606, 609 (7th Cir. 2008) (“A person who has a chronic disease, whether

physical or psychiatric, and is under continuous treatment for it with heavy drugs, is likely to

have better days and worse days; that is true of the plaintiff in this case. Suppose that half the

time she is well enough that she could work, and half the time she is not. Then she could not

hold down a full-time job.”).

       Plaintiff takes particular exception to the ALJ’s statement that she “frequently exhibited

good function upon examination (with some exceptions).” (Pl.’s Br. at 6; Tr. at 1473, 1478,

1479, 1481.) She argues that it is unclear to what the phrase “with some exceptions” refers.

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(Pl.’s Br. at 6.) She contends that the ALJ’s summary of the medical evidence makes little

mention of the abnormal findings, overlooking copious notations of, e.g., disheveled

appearance, anxious and depressed mood, tearfulness, flat affect, variable eye contact, and

limited judgment. (Pl.’s Br. at 7-8.)

       The ALJ did not cite each and every one of these notations, but he did not have to. See

Gedatus, 994 F.3d at 901 (“True, the ALJ’s summary does not mention every detail. But it

need not.”); Kolar, 695 Fed. Appx. at 161-62 (“ALJs need not comment on every line of every

physician’s treatment notes, as Kolar’s lawyer supposes; it is enough to recognize and respond

to the physician’s principal conclusions, which the ALJ did.”); Pepper v. Colvin, 712 F.3d 351,

363 (7th Cir. 2013) (“[A]n ALJ is not required to discuss every snippet of information from the

medical records that might be inconsistent with the rest of the objective medical evidence.”).

As indicated above, the ALJ acknowledged that at various times plaintiff appeared disheveled,

with limited eye contact, depressed and tearful affect, suicidal ideation, and variable

concentration. (Tr. at 1471, citing Tr. at 2448-49; Tr. at 1471, citing Tr. 1894; Tr. at 1471-72,

citing Tr. at 1870-71; Tr. at 1479, citing Tr. at 724.) This is not a case in which the ALJ simply

ignored the contrary evidence, as plaintiff alleges.4 See Adams v. Saul, No. 20-CV-1014, 2021

U.S. Dist. LEXIS 90295, at *22-23 (E.D. Wis. May 12, 2021) (“Adams’ contention that the ALJ

cherry-picked periods of improvement while ignoring evidence of symptom exacerbation is not

supported by the record. In the ALJ’s detailed review of the medical evidence, he noted times

when Adams reported worsening symptoms.”).



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        In reply, plaintiff contends that the ALJ cited a single treatment note regarding
“abnormalities at times” (Pl.’s Rep. Br. at 2, citing Tr. at 2448-49), but that is incorrect, as noted
in the attached text.

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       Plaintiff argues that the ALJ credited her statements to providers that she was doing well

but largely rejected reports that she was doing poorly. (Pl.’s Br. at 8-9.) As plaintiff concedes,

however, the ALJ acknowledged Kosicek’s recommendation that plaintiff seek inpatient care

in January 2019 and Tauer’s February 2018 notation of increased symptoms. (Pl.’s Br. at 9,

citing Tr. at 1471-72.) And there is more: earlier in his decision, in the Listing analysis, the ALJ

discussed in some detail plaintiff’s reported problems with concentration, completing tasks,

memory, understanding, following instructions, anger outbursts, irritability, panic attacks, and

social withdrawal, contrasting those reports with the suggestions of better functioning in the

treatment records.5 (Tr. at 1464-66.) The ALJ again discussed plaintiff’s symptoms in

determining RFC (Tr. at 1467-82), including her reports of depressed mood, anger outbursts,

decreased energy, trauma flashes, and low self-esteem (Tr. at 1470), contrasting those reports

with the indications of reasonably good mental function, improvement with treatment, and

plaintiff’s statements that she was doing well and engaging in increased activities (Tr. at 1470-

73). The ALJ specifically grappled with the exacerbations found by Kosicek in October 2018,

noting that even then Kosicek (and Dr. Bremberger) documented some good findings (Tr. at

1471), and again in January 2019, noting that by the fall of 2019 plaintiff reported feeling better

after a medication adjustment (Tr. at 1471-72).

       Importantly, the ALJ never suggested plaintiff was symptom-free, only that she obtained



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         In reply, plaintiff contends that citing earlier parts of the ALJ’s decision to rationalize
later findings is impermissible. (Pl.’s Rep. Br. at 2.) As the Seventh Circuit has explained,
“nothing in the Chenery doctrine prohibits a reviewing court from reading an ALJ’s decision
holistically.” Zellweger v. Saul, 984 F.3d 1251, 1252 (7th Cir. 2021); see also Curvin v. Colvin,
778 F.3d 645, 650 (7th Cir. 2015) (“We do not discount it simply because it appears elsewhere
in the decision. To require the ALJ to repeat such a discussion throughout his decision would
be redundant.”).

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some benefit from treatment and was not as severely limited as alleged. See Valentin v. Saul,

19-CV-1626, 2020 U.S. Dist. LEXIS 166213, at *14-15 (E.D. W is. Sept. 11, 2020):

       Valentin cites a number of treatment notes that purportedly substantiate the
       variability in her symptoms. Although at times Valentin presented with escalating
       emotional or physical issues, the ALJ reasonably determined that the extreme
       limitations claimed by Valentin conflicted with reports of some improvement with
       treatment from 2016 to 2018. . . . This evidence supports the ALJ’s finding that,
       with treatment, Valentin was not as functionally limited as she alleged; the ALJ
       didn’t ignore Valentin’s symptoms or find that treatment made her symptom-free.

       Plaintiff notes a number of other occasions where she made subjective reports of doing

poorly, which the ALJ failed to mention. (Pl.’s Br. at 9-10.) Again, her argument boils down to

a contention that the ALJ placed too much weight on the positive reports and not enough on

the negative, but the court may not substitute its take on the evidence for the ALJ’s. See also

Adams, 2021 U.S. Dist. LEXIS 90295, at * 23-24 (record citation omitted):

       Moreover, these “ignored” records merely show that Adams continued to feel
       tired, anxious, and depressed. But the ALJ never claimed that Adams was
       symptom free. Rather, he found that Adams’ alleged symptoms were not as
       severe as alleged given his own reports of improvement. That finding is
       reasonable, and I will not reweigh the evidence that led the ALJ to that
       conclusion.

Again, this is not a case where the ALJ “utterly fail[ed]” to acknowledge contrary evidence, see

Moore v. Colvin, 743 F.3d 1118, 1123 (7 th Cir. 2014), as plaintiff alleges (Pl.’s Br. at 10).

       Plaintiff suggests that some of her reports of doing well may have been evidence of

mania rather than good mental functioning. (Pl.’s Br. at 11.) Plaintiff cites no evidence from

any medical provider attributing her positive statements to manic episodes, just her own

subjective reports, so it is hard to see how the ALJ committed reversible error by failing to

suspect mania rather than improvement. Moreover, as the Commissioner notes, the March

2017 treatment note plaintiff cites in support of this argument offers scant support. (Def.’s Br.


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at 13.) At that time, plaintiff reported that her manic episodes were worse when she was

younger, involving “high risk behavior” and substance abuse, while “lately mania is more just

not able to sleep.” (Tr. at 399.) In reply, plaintiff notes that on May 11, 2017, she told Kosicek

“I feel SO good!” (Tr. at 548), but on May 25, 2017, she told Tauer that she discontinued a

medication because she felt she was becoming manic. (Pl.’s Rep. Br. at 5, citing Tr. at 751.)

But it is hard to see why, based on this notation, the ALJ was required to draw the conclusion

that plaintiff’s reported improvements were actually signs of mania.

       Plaintiff also contends that, in relying on her daily activities, the ALJ overlooked her

limitations. See Moss v. Astrue, 555 F.3d 556, 562 (7th Cir. 2009) (“An ALJ cannot disregard

a claimant’s limitations in performing household activities.”). She notes indications in her

reports that she needed to “psych herself up” to go out, needed reminders to shower and take

medications, and did little around the house. (Pl.’s Br. at 11-12.) She further testified to having

“bad days” where she did not leave the house and isolated in her room, and that she could not

handle even part-time work, quitting her job at the YMCA because she was making mistakes

and forgetting what to do. (Pl.’s Br. at 12.)

       The ALJ likely should have said more about plaintiff’s limitations in what were already

rather limited activities. But any error was harmless, as the ALJ cited several other factors in

determining RFC. See Kuykendoll v. Saul, 801 Fed. Appx. 433, 439 (7th Cir. 2020) (finding any

error harmless where the ALJ mentioned daily activities as only one of many factors in

assessing RFC). Moreover, the ALJ did not make the common mistake of equating daily

activities with competitive work; rather, he noted that these activities suggested plaintiff’s

symptoms were not as debilitating as she alleged. See Rennaker v. Saul, 820 Fed. Appx. 474,

480 (7th Cir. 2020) (“[T]he ALJ’s mistake was harmless because the ALJ did not rely on

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Rennaker’s daily activities to the exclusion of other evidence; nor did he equate these activities

with competitive work. He noted only that these activities suggested that Rennaker was not

as limited as he alleged.”).

       Finally, plaintiff contends that the ALJ’s failure to account for variable functioning was

harmful, as the VE testified that the related limitations (absenteeism, time off task, unscheduled

breaks, extra supervision) would preclude competitive employment. (Pl.’s Br. at 13, citing Tr.

at 78-80.) The ALJ sufficiently considered the conflicting evidence and provided valid reasons

for declining to accept those limitations, instead largely crediting the reports of the agency

medical and psychological consultants that plaintiff could sustain a range of full-time, unskilled,

sedentary work. See Ketelboeter v. Astrue, 550 F.3d 620, 625 (7th Cir. 2008) (affirming where

the ALJ found the agency doctors’ opinions better supported by the record). In reply, plaintiff

notes that the ALJ rejected portions of the consultants’ reports, but she fails to explain why that

matters. (Pl.’s Rep. Br. at 8.) “The ALJ determines RFC based on the entire record; he need

not adopt ‘a particular physician’s opinion[.]’” Aguilera v. Colvin, No. 13-C-1248, 2014 U.S.

Dist. LEXIS 95951, at *68 (E.D. Wis. July 15, 2014) (quoting Schmidt v. Astrue, 496 F.3d 833,

845 (7th Cir. 2007)).

B.     Plaintiff’s Statements

       In considering a claimant’s statements regarding her symptoms and limitations, the ALJ

must follow a two-step process. First, the ALJ must determine whether the claimant suffers

from a medically determinable impairment that could reasonably be expected to produce the

alleged symptoms. SSR 16-3p, 2016 SSR LEXIS 4, at *5. Second, if the claimant has such

an impairment, the ALJ must determine the extent to which the symptoms limit the claimant’s

ability to work. Id. at *9. If the statements are not substantiated by objective medical evidence,

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the ALJ must evaluate the intensity, persistence, and limiting effects of the alleged symptoms

based on the entire record and considering a variety of factors, including the claimant’s daily

activities; factors that precipitate and aggravate the symptoms; the type, dosage, effectiveness,

and side effects of any medication the claimant takes; and other treatment the claimant has

received for relief of the pain or other symptoms. Id. at *18-19. “The determination or decision

must contain specific reasons for the weight given to the individual’s symptoms, be consistent

with and supported by the evidence, and be clearly articulated so the individual and any

subsequent reviewer can assess how the adjudicator evaluated the individual’s symptoms.”

Id. at *26.

       Review of an ALJ’s symptom evaluation is highly deferential. So long as the ALJ gives

specific reasons supported by the record, the court will overturn his determination only if it is

“patently wrong.” Deborah M., 994 F.3d at 788.

       As indicated above, the ALJ followed the two-step process here, providing several

reasons for finding plaintiff’s statements not entirely consistent with the evidence of record.

First, plaintiff reported good improvement in physical functioning with aquatic therapy, which

she discontinued due to the hassle of getting there (Tr. at 1469, 1472), and the medical records

documented reasonably good physical functioning, despite plaintiff’s morbid obesity, with

normal cardiovascular and respiratory findings and normal strength in the extremities (Tr. at

1469-70, 1472). Second, the treatment records documented reasonably good mental function,

with some exceptions. (Tr. at 1471, 1473.) Third, plaintiff reported that psychiatric medications

and therapy were helpful. (Tr. at 1474.) Fourth, plaintiff’s activities suggested that she did not

suffer from debilitating symptoms, as she was able to go shopping, attend church, visit family,

go out to eat with her parents, watch TV, play games, and interact with others on Facebook.

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(Tr. at 1473.) Fifth, plaintiff did not seek inpatient mental health treatment during the period

at issue. (Tr. at 1473.)

       Plaintiff makes no argument that the ALJ strayed from the regulatory factors. Rather,

she challenges the evidence upon which the ALJ relied in making his findings. Because the

court may not re-weigh the evidence or substitute its judgment for the ALJ’s, plaintiff faces an

uphill climb in making this argument. See Schmidt v. Barnhart, 395 F.3d 737, 744 (7th Cir.

2005) (noting that “challenges to the sufficiency of the evidence rarely succeed”).

       Plaintiff contends that the ALJ’s second, third, and fourth reasons rest on a one-sided

view of the evidence, as detailed in her first argument. (Pl.’s Br. at 15.) For the reasons stated

above, that argument fails.

       Regarding the ALJ’s first reason, plaintiff argues that her improvement with physical

therapy does not logically lead to the conclusion that her statements about the limiting effects

of her pain are unsupported. She notes that she engaged in therapy for a short time (from

August to October 2017), while the period at issue in this case stretches from March 2017 (the

alleged onset) to February 2020 (the date of the ALJ’s decision). She further argues that it is

illogical to discount her statements about pain based on her temporary improvement in therapy.

(Pl.’s Br. at 15.) Plaintiff faults the ALJ for referencing her testimony that she stopped attending

because the hassle of getting there was not worth the benefit of doing it, omitting her further

testimony that the improvement was short-term. (Pl.’s Br. at 16, citing Tr. at 1508.)

       This again boils down to a contention that the ALJ placed too much weight on a

particular piece of evidence. Plaintiff makes no argument that it was improper for the ALJ to

cite the water therapy records, nor could she, as the regulations required the ALJ to consider

the treatment plaintiff received for her pain and other symptoms. As the ALJ discussed,

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plaintiff saw a number of specialists for her fibromyalgia, receiving recommendations for

physical therapy and medications. (Tr. at 1468.) Plaintiff noted no benefit from prescription

medications (Tr. at 1469), instead using Tylenol for pain relief (Tr. at 1468), but the therapy

appeared to produce significant benefit (Tr. at 1469).

       Plaintiff faults the ALJ for failing to cite the portion of an October 2017 treatment note

in which she told a provider that she did not feel the therapy “helped her pain.” (Pl.’s Br. at 16,

citing Tr. at 1054). But in that same note, plaintiff told the provider that the therapy “helped her

see that she can do more than the thought.” (Tr. at 1054.) I cannot find reversible error based

on the ALJ’s failure to further discuss this one record.6 Plaintiff’s argument that the ALJ placed

too much weight on the water therapy records is further undermined by his provision of several

other reasons, which plaintiff does not specifically contest.

       As to the fifth reason, plaintiff correctly notes that there is no requirement in social

security law that a claimant require hospitalization in order to demonstrate a disabling mental

impairment. Worzalla v. Barnhart, 311 F. Supp. 2d 782, 796 (E.D. Wis. 2004); see also

Wallace v. Barnhart, 256 F. Supp. 2d 1360, 1371 (S.D. Fla. 2003) (“Although hospitalizations

may add to the strength of a disability claim, [they] are not an essential element in establishing

a severe impairment.”). But the ALJ did not impose such a requirement here; instead, he

considered the nature and extent of the claimant’s treatment, as the regulations require.

Ultimately, even if this reason added little to the ALJ’s analysis, it provides no basis for reversal.

See Halsell v. Astrue, 357 Fed. Appx. 717, 722-23 (7th Cir. 2009) (“Not all of the ALJ’s reasons



       6
          Although the ALJ did not specifically mention the quotes in the text, he did discuss
plaintiff’s October 2017 follow up with Dr. Kleen, during which she made these statements. (Tr.
at 1469, citing Tr. at 1054-55.)

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must be valid as long as enough of them are, and here the ALJ cited other sound reasons for

disbelieving Halsell.”) (internal citations omitted).

       Plaintiff concludes that, as with her first argument, the error was harmful, as acceptance

of her testimony that she could not leave the house at least weekly, made mistakes and forgot

how to do her part-time job, and tended to read the same sentence over and over would

preclude the performance of full-time work. (Pl.’s Br. at 17.) The ALJ provided sufficient

reasons for declining to accept these claims, supported by the evidence and consistent with

the regulatory factors.

C.     Providers’ Opinions

       Under the regulations applicable to plaintiff’s claim,7 the ALJ should generally give more

weight to the medical opinion of treating source than to the opinion of a source who did not

treat the claimant. 20 C.F.R. § 416.927(c)(1). This is so because treating sources are likely

to be the medical professionals most able to provide a detailed, longitudinal picture of the

claimant’s medical impairments. Id. § 416.927(c)(2).

       If a treating source’s medical opinion is well-supported by medically acceptable clinical

and laboratory diagnostic techniques and is not inconsistent with the other substantial evidence

in the case record, the ALJ will give it “controlling weight.” Id. If a treating source’s medical

opinion is not given controlling weight, the ALJ must decide how value it does have,

considering the length, nature, and extent of the treatment relationship; the support provided



       7
        Plaintiff filed the first application at issue on March 24, 2017, just before the
Commissioner’s regulations regarding medical opinions changed. See Gerstner v. Berryhill,
879 F.3d 257, 261 (7th Cir. 2018) (noting that the treating-physician rule applies only to claims
filed before March 27, 2017). As required by the Appeals Council’s remand order, the ALJ
applied the prior rules to the consolidated case. (Tr. at 1458.)

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by the source for the opinion; the consistency of the opinion with the record as a whole; the

source’s specialization, if any; and the source’s familiarity with the social security disability

program and its evidentiary requirements. Id. § 416.927(c)(2)-(6). The ALJ must provide “good

reasons” for discrediting a treating source’s medical opinion. E.g., Stocks v. Saul, 844 Fed.

Appx. 888, 892 (7 th Cir. 2021).

       Under the applicable regulations, only opinions from “acceptable medical sources,” such

as licensed physicians or psychologists, may be given controlling weight.               20 C.F.R. §

416.902(a). Opinions from other medical sources, such as therapists or nurse practitioners,

must be considered but may not receive controlling weight. See, e.g., Kirkling v. Berryhill, No.

2:16-cv-00412, 2017 U.S. Dist. LEXIS 99929, at *11, 15 (S.D. Ind. June 28, 2017). These

opinions are otherwise evaluated under the same factors used to evaluate reports from

acceptable medical sources. See, e.g., Cole v. Berryhill, No. 17-CV-1366, 2018 U.S. Dist.

LEXIS 157077, at *18 (E.D. W is. Sept. 14, 2018).

       1.      Dr. Bremberger

       Dr. Bremberger, plaintiff’s primary physician, endorsed a number of work-preclusive

limitations, including that plaintiff could not sit/stand/walk for a total of eight hours, would be off

task 25% of the workday, would require four unscheduled breaks, could only occasionally

handle and finger, would be absent more than four days per month, and would need to elevate

her legs at least two hours per workday. (Tr. at 597-600.) As indicated above, the ALJ

acknowledged Dr. Bremberger’s status as a treating source but gave her opinions little weight

because she typically treated plaintiff for acute illnesses, with other specialists addressing

plaintiff’s fibromyalgia and chronic pain; the opinions were set forth in a checklist style form,

without supporting explanation; the opinions were inconsistent with the medical evidence,

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including plaintiff’s improvement with therapy and the physical exam findings of no muscle

atrophy, normal gait, normal muscle strength, full range of motion, and no or only some edema;

Dr. Bremberger had previously declined to complete disability forms, with the record giving no

indication that plaintiff’s condition had worsened after the previous refusals; and Dr.

Bremberger stated, several months before the alleged onset date, that plaintiff had no

restrictions for participating in an exercise program. (Tr. at 1476-78.)

       Plaintiff develops no argument that the ALJ’s analysis strayed from the regulatory

factors. Instead, she again challenges the ALJ’s weighing of the evidence pertinent to the

factors. Given the standard of review, she again faces an uphill climb. See Schmidt, 395 F.3d

at 744.

       Plaintiff acknowledges that Dr. Bremberger provided general care, with other specialists

addressing the severe impairments at issue, but she contends that this is only one factor to

consider. (Pl.’s Br. at 20.) The ALJ did not suggest otherwise, providing several additional

reasons for his conclusion. It was appropriate for the ALJ to note Dr. Bremberger’s lack of

specialization as part of the analysis.

       Plaintiff contends that the limitations on sitting and standing tolerance relate to fatigue,

pain, and lower extremity edema, and that these symptoms are well-documented in the record.

(Pl.’s Br. at 20.)   While Dr. Bremberger checked boxes corresponding to a number of

symptoms on the diabetes medical source statement (Tr. at 597), she did not specifically relate

those symptoms to, or otherwise explain the basis for, the severe exertional limitations she

endorsed in this report (Tr. at 598). Moreover, the ALJ acknowledged plaintiff’s reports of pain

and fatigue (Tr. at 1468) but concluded that her allegations of disabling symptoms and

limitations were not consistent with the record as a whole. See White v. Barnhart, 415 F.3d

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654, 659 (7th Cir. 2005) (rejecting treating source opinion based on the claimant’s subjective

complaints, which the ALJ found not credible).

       Dr. Bremberger endorsed the requirement of leg elevation in a “lower extremity edema”

report (Tr. at 600), but the ALJ discussed the reports of edema in some detail. On April 25,

2017, Dr. Bremberger noted no edema. (Tr. at 1477, citing Tr. at 1223.) She also stated that

plaintiff’s edema had improved on medication. (Tr. at 1477, citing Tr. at 462.) On July 25,

2017, Dr. Bremberger again noted no edema. (Tr. at 1477, citing Tr. at 1268-69.) On July 6,

2018, plaintiff’s treating endocrinologist noted no pedal edema. (Tr. at 1477, citing Tr. at 2300.)

And in September 2018, during a diabetic exam by a podiatrist, plaintiff had some edema in

the lower legs, but the exam was otherwise mostly unremarkable. (Tr. at 1477, citing Tr. at

2411.) Plaintiff cites other record references to +1 pitting edema (Tr. at 2082, 2095) and trace

to mild pitting edema (Tr. at 376), but she does not explain why these findings demonstrate

error in the ALJ’s evaluation of Dr. Bremberger’s opinion.8 The ALJ acknowledged that plaintiff

demonstrated edema at times but concluded that the condition was not sufficiently serious to

require leg elevation for multiple hours per day.

       Plaintiff contends that Dr. Bremberger’s opinions as to absenteeism, time off task, and

unscheduled breaks are consistent with and supported by the evidence of variable functioning

raised in her first argument, as well as by her part-time work experience. (Pl.’s Br. at 20-21.)

I addressed plaintiff’s variable functioning argument above; the ALJ adequately considered the

up and downs in plaintiff’s condition. The ALJ also noted plaintiff’s contention that she was

unable to continue her part-time job at the YMCA (Tr. at 1467) but ultimately found her claims


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        Pitting edema is graded on a scale of 1+ to 4+, with 1+ being the least serious.
https://www.webmd.com/heart-disease/pitting-edema (last visited October 22, 2021).

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of disabling symptoms and limitations inconsistent with the record as a whole (Tr. at 1472).

       Plaintiff next argues that the use of a checklist form is no reason to reject the opinion,

particularly when the opinions are supported by other evidence in the record. (Pl.’s Br. at 21,

citing Larson v. Astrue, 615 F.3d 744, 751 (7th Cir. 2010) (“Although by itself a check-box form

might be weak evidence, the form takes on greater significance when it is supported by medical

records.”).) The ALJ did not reject the report based solely on its format, and it was appropriate

for him to note that Dr. Bremberger offered no explanatory support for the limitations. See,

e.g., Blackburn v. Berryhill, No. 4:17-cv-00035, 2018 U.S. Dist. LEXIS 169237, at *14 (S.D. Ind.

Mar. 15, 2018) (“[T]he ALJ properly considered the fact that the opinions were ‘checkbox’ as

one factor among several that tilted against assigning greater weight to their opinions.”),

adopted, 2018 U.S. Dist. LEXIS 168594 (S.D. Ind. Sept. 30, 2018). Cf. Larson, 615 F.3d at

751 (noting that the doctor did make comments where possible).

       Plaintiff next faults the ALJ for relying on various normal exam findings, which say

nothing about the severity of her fibromyalgia. (Pl.’s Br. at 21.) The ALJ acknowledged that

the examinations confirmed abnormalities associated with fibromyalgia, including pain and

tender points. (Tr. at 1468, citing Tr. 905.) The ALJ primarily relied on the normal physical

exam findings in discussing plaintiff’s obesity, diabetes, and neuropathy. (Tr. at 1470, 1477.)

The ALJ thus did not make the same mistake as in the cases plaintiff cites, i.e., discounting a

fibromyalgia claimant’s pain allegations based on the absence of “objective” medical support.

(Pl.’s Br. at 22, citing Alexander v. Barnhart, 287 F. Supp. 2d 944, 965-66 (E.D. Wis. 2003);

Gister v. Massanari, 189 F. Supp. 2d 930, 934-35 (E.D. Wis. 2001).) Plaintiff develops no

argument that it was error for the ALJ to rely on the normal exam findings (e.g., full strength,

normal range of motion and gait, no muscle atrophy) in discussing her overall physical

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functioning.

       Plaintiff acknowledges that on two previous occasions Dr. Bremberger declined to

complete disability forms, as the ALJ said. (Pl.’s Br. at 22.) In July 2017, Dr. Bremberger

indicated she was “not comfortable” completing a form excusing plaintiff from federal student

loans due to disability. (Tr. at 1270.) In November 2017, Dr. Bremberger declined to complete

a work excuse form, stating: “I am unable ethically to complete her form today as she is

currently working.” (Tr. at 1317.) Plaintiff contends that the ALJ should not have relied on the

first declination without knowing what the form asked or why Dr. Bremberger was

uncomfortable signing it. (Pl.’s Br. at 22.) And Dr. Bremberger appeared to base the second

declination on a mistake of law, as a person can be employed (at least below the SGA level)

and still be found “disabled” under the Social Security Act. (Pl.’s Br. at 23.)

       To the extent plaintiff contends the ALJ was required to go behind the medical records

and determine Dr. Bremberger’s thought process, she asks too much. While ALJs have a

general duty to develop the record, it is the claimant’s burden, not the ALJ’s, to prove that she

is disabled. Summers v. Berryhill, 864 F.3d 523, 527 (7th Cir. 2017). Moreover, because

plaintiff was represented by counsel at the hearing in this case, she is presumed to have made

her best case before the ALJ. Id.

       Finally, plaintiff challenges the ALJ’s reliance on Dr. Bremberger’s December 2016

release for plaintiff to participate in an exercise program at the YMCA without restrictions. (Pl.’s

Br. at 23.) Plaintiff notes that this release came before the alleged onset date, but the ALJ said

as much in his decision. (Tr. at 1478, citing Tr. at 1167.) Since this release came just a few

months before the onset date, and plaintiff alleged no traumatic or triggering event in the

interim, this was relevant evidence. Plaintiff further argues that her ability to participate in an

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exercise program does not mean she can engage in competitive full-time employment. (Pl.’s

Br. at 24.) The ALJ never said it did. Rather, he cited the release as evidence undermining

the severe restrictions set forth in Dr. Bremberger’s February 2018 report, further noting the

absence of medical evidence that plaintiff’s condition had significantly worsened from late 2016

to early 2018. (Tr. at 1477-78.) Plaintiff develops no argument that the ALJ erred in finding

that her condition did not worsen during this time.

       2.     NP Kosicek and Therapist Tauer

       Kosicek and Tauer both endorsed a number of work-preclusive limitations, indicating

that plaintiff needed to lie down three or more hours during the workday, would miss more than

fours days per month, would need two or three unscheduled breaks during the workday, would

be off task 30% of the time, and would require an unusual level of supervision to complete even

simple work tasks several times per day. They further opined that she had marked limitations

in each of the paragraph B criteria. (Tr. at 589-93, 714-18.) The ALJ gave Tauer’s report little

weight because her notes typically documented plaintiff’s subjective reports rather than

complete mental status examinations, suggesting that Tauer primarily relied on plaintiff’s

reports; Tauer based her opinion in part on plaintiff’s fibromyalgia symptoms, which exceeded

her area of expertise; and the objective findings documented in other treatment records,

including Kosicek’s, were inconsistent with Tauer’s opinions.        (Tr. at 1479.)   The ALJ

discounted Kosicek’s report as inconsistent with the evidence, including Kosicek’s own clinical

findings. While Kosicek noted increased symptoms on some occasions, plaintiff generally

exhibited reasonably good mental functioning and medication adjustments helped to better

control the symptoms. (Tr. at 1480.)

       Plaintiff again contends that the ALJ misconstrued the record in discussing her ups and

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downs, as indicated in her first argument. (Pl.’s Br. at 25.) For the reasons stated above, the

ALJ did not err in failing to mention all of the records documenting plaintiff’s increased

symptoms.

       Plaintiff argues that Tauer did include some objective findings in her notes, providing a

long string cite from the record. (Pl.’s Br. at 25.) The ALJ discussed some of those findings

earlier in his decision, indicating that Tauer’s notes from the summer and fall of 2018

documented an anxious mood but cooperative behavior, full orientation, and logical and

coherent thought processes. (Tr. at 1472, citing Tr. at 2499-2505.) In any event, plaintiff does

not explain how any of these notations support the limitations in Tauer’s report. Nor does she

contest the ALJ’s broader point—that Tauer’s notes did not typically include complete mental

status examinations but rather focused mostly on subjective reports.9 Plaintiff also says

nothing about the ALJ’s finding that Tauer’s opinions exceeded her expertise. To the extent

plaintiff argues Tauer’s report is supported by Kosicek’s notes, the ALJ sufficiently discussed

those notes.10

       Finally, while providers are permitted to rely on their patients’ descriptions of their

conditions, see, e.g., Brown v. Barnhart, 298 F. Supp. 2d 773, 792-93 (E.D. Wis. 2004), as



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       In reply, plaintiff suggests that the ALJ may have overlooked Tauer’s observations
completely, since they were not part of a complete mental status exam. (Pl.’s Rep. Br. at 9.)
The ALJ’s decision belies the suggestion, as he discussed several of those reports and
observations earlier in his decision. (Tr. at 1472.)
       10
          As the Commissioner notes, while plaintiff lumps these two opinions together in her
brief, the ALJ analyzed them separately, providing different reasons for his conclusions. (Tr.
at 1479-80.) Plaintiff develops no specific argument that the ALJ erred in evaluating Kosicek’s
opinion. In reply, plaintiff notes that the ALJ provided similar reasons (Pl.’s Rep. Br. at 9), but
that is not surprising given the similarities in the reports, which were completed on the same
day.

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plaintiff notes (Pl.’s Br. at 25), ALJs may discount medical opinions that are based solely on

the claimant’s subjective complaints, Filus v. Astrue, 694 F.3d 863, 868 (7th Cir. 2012). The

ALJ did not err by including this as one reason for discounting Tauer’s report.

       3.     Dr. Schenck and Therapist Johnson

       Dr. Schenck, plaintiff’s prior psychiatrist, endorsed a number of work-preclusive

limitations, including the need to lie down due to fatigue, more than four absences per month,

excessive breaks, time off task, an unusual level of supervision, and great variability in her

ability to interact with others. He further opined that she experienced marked limitations in

three of the four paragraph B areas. (Tr. at 2056-60.) Plaintiff’s former therapist, Linda

Johnson, endorsed similar limitations. (Tr. at 916-21.)

       The ALJ discounted Dr. Schenck’s opinions, noting that he stopped treating plaintiff well

before he offered them, he documented a largely mental status exam at their last visit in

September 2016, he observed mostly good functioning during their previous appointments,

Kosicek’s more recent notes also documented fairly unremarkable mental exams, and Dr.

Schenck’s statement about great variability in plaintiff’s capacity to interact with others was

vague and inconsistent with his clinical findings. (Tr. at 1478.) The ALJ discounted Johnson’s

opinions because she did not treat plaintiff during the alleged period of disability, her treatment

notes typically documented plaintiff’s subjective reports rather than clinical findings from full

mental status examinations, her opinions conflicted with the treatment records during the

period at issue, and she based her opinion in part on plaintiff’s fibromyalgia thus exceeding her

area of expertise. (Tr. at 1481.)

       Plaintiff again incorporates her previous arguments in challenging the ALJ’s rejection

of the Schenck and Johnson reports. (Pl.’s Br. at 26.) For the reason stated above, I find no

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reversible error in the ALJ’s weighing of the evidence.

       Plaintiff specifically challenges the ALJ’s reliance on the timing of these reports, noting

that Schenck and Johnson treated her for the same impairments found to be severe during the

relevant time period. (Pl.’s Br. at 26.) The ALJ acknowledged as much, noting that Schenck

and Johnson treated plaintiff for bipolar disorder, PTSD, and anxiety, and that they had the

opportunity to regularly observe her during sessions in the past. (Tr. at 1478, 1481.) The ALJ

did not reject their reports based solely on the timing, and the regulation required him to

consider the length and frequency of the treating relationship. Plaintiff notes that the ALJ was

also required to consider specialization, supportability, and consistency. (Pl.’s Br. at 26.) The

ALJ did so, noting their credentials, looking for support in their treatment notes, and checking

the consistency of their reports with the treatment records during the relevant time.

       Plaintiff does not otherwise specifically contest the reasons the ALJ provided for

discounting these opinions. Nor, as the Commissioner notes, does she acknowledge that the

ALJ considered these opinions separately.

       4.     Wicker

       Debbie Wicker, plaintiff’s most recent therapist, produced a report in January 2019,

endorsing the need lie down for three or more hours during the day, off task behavior

exceeding 30% of a typical workday, and the need for an unusual level of supervision several

times per day. She further endorsed marked limitations in all four paragraph B areas of

functioning. (Tr. at 2512-16.) In an October 2019 letter, Wicker discussed plaintiff’s need for

protection and accompaniment by family in unfamiliar circumstances. (Tr. at 1869.)

       Wicker produced no medical records and apparently did not keep notes from her

sessions with plaintiff, which occurred at a local library; plaintiff’s counsel was also uncertain

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of Wicker’s credentials. (Tr. at 1503, 1507.) The ALJ discounted Wicker’s opinions because

she kept no records and was not an acceptable medical source, her responses were

conclusory and inconsistent with other medical evidence, and her letter consisted primarily of

a recitation of plaintiff’s subjective reports rather than clinical findings. (Tr. at 1482.)

       Plaintiff again relies on her previous arguments regarding inconsistency with the medical

evidence. (Pl.’s Br. at 27.) For the reasons stated above, I find no reversible error.

       Plaintiff argues that Wicker’s failure to keep records does not make her opinions

“inadmissible” (Pl.’s Br. at 27), but the ALJ never said that it did. He considered her opinions

over three lengthy paragraphs in his decision. (Tr. at 1481-82.) The ALJ was required by the

regulation to evaluate consistency and supportability, and the absence of relevant records was

pertinent to that analysis. Plaintiff also argues that Wicker’s opinion was consistent with the

notes from other providers documenting fatigue, variable functioning, and inability to sustain

a part-time job. (Pl.’s Br. at 27.) As indicated above, the ALJ discussed some of this evidence,

and I will not second guess his evaluation.

       Plaintiff further argues that the fact that Wicker is not an “acceptable medical source”

does not provide reason to discount her opinions. (Pl.’s Br. at 27.) Under the applicable

regulations, the fact that a medical opinion is from an “acceptable medical source” is a factor

that may justify giving that opinion greater weight because acceptable medical sources “are the

most qualified health care professionals.” SSR 06-03p, 2006 SSR LEXIS 5, at *12 (rescinded

effective Mar. 27, 2017); see also 20 C.F.R. § 416.913. The ALJ did not reject Wicker’s

opinion based solely on her lack of credentials; he permissibly considered this factor as one

reason for giving her opinions less weight. See, e.g., Stacy A. v. Berryhill, No. 17 C 6581, 2019

U.S. Dist. LEXIS 66016, at *11 (N.D. Ill. Apr. 18, 2019) (noting that it is permissible under the

                                                 58


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applicable regulations for an ALJ to consider, as part of the analysis, that a provider is not an

acceptable medical source).

       Plaintiff concludes that the ALJ’s rejection of the treating source opinions was material,

as acceptance of their restrictions would, based on the VE’s testimony, lead to a disability

finding (as well as a finding of disabled under the Listings at step three). (Pl.’s Br. at 28.)

Plaintiff further argues that the court should reverse and award benefits, as these opinions are

well-supported by the record. (Pl.’s Br. at 28-29.) Because I find no reversible error in the

ALJ’s evaluation of the treating provider opinions, I need not discuss remedy.

                                      III. CONCLUSION

       The record in this case contains substantial evidence supporting disability. But it also

contains substantial evidence supporting the ALJ’s decision.         “The substantial-evidence

standard . . . presupposes that there is a zone of choice within which the decisionmakers can

go either way, without interference by the courts. An administrative decision is not subject to

reversal merely because substantial evidence would have supported an opposite decision.”

Baker v. Heckler, 730 F.2d 1147, 1150 (8th Cir. 1984). The ALJ also sufficiently articulated his

reasons for denying the claim, satisfying the deferential standard applicable on judicial review.

See Elder v. Astrue, 529 F.3d 408, 415 (7 th Cir. 2008). Therefore,

       IT IS ORDERED that the ALJ’s decision is affirmed, and this case is dismissed. The

clerk is directed to enter judgment accordingly.

       Dated at Milwaukee, Wisconsin this 5th day of November, 2021.

                                          /s/ Lynn Adelman
                                          LYNN ADELMAN
                                          District Judge



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                                           APPENDIX

        As indicated, plaintiff treated with Dr. Carlos Schenck, a psychiatrist, and Linda Johnson,
MACP, a therapist, prior to the alleged onset date, when she lived in Minnesota. The record
contains handwritten counseling notes from Johnson dated January 6, 2015, to November 14,
2016, which are difficult to read. (Tr. at 776-811, 841-80.) During a March 16, 2015 visit with
Dr. Schenck, plaintiff displayed normal eye contact, a well groomed appearance, normal
speech, cooperative attitude, depressed mood, appropriate affect, logical thought content,
intact insight and memory, and focused attention/concentration. (Tr. at 815, 960-61.) She
reported that insomnia, mood swings, and a pervasive depressed mood hindered her daily
functioning. (Tr. at 816.) She further reported doing well enough with her medications, but she
was still not able to work on account of her bipolar and anxiety. (Tr. at 817.)
        On June 4, 2015, Dr. Schenck noted a normal mental status exam aside from depressed
mood. (Tr. at 822.) Plaintiff’s parents remained supportive, which was important given the
depressed mood, hopelessness, and helplessness she often had every day. They discussed
coping strategies, as there was no further pharmacologic remedy Dr. Schenck could offer. (Tr.
at 824.)
        On August 17, 2015, Dr. Schenck again noted a normal mental status exam aside from
depressed mood. (Tr. at 827.) Plaintiff continued to be afflicted with her various symptoms,
apart from mood instability, which had been controlled with medications. She continued to live
with her parents while struggling with her mental health but was trying part-time work organizing
Tupperware parties. Her PTSD symptoms recurred but were “blunted” by her medications.
Dr. Schenck adjusted her medications to help with sleep. (Tr. at 829.)
        On November 9, 2015, Dr. Schenck noted a normal mental status exam aside from
anxious and depressed mood. (Tr. at 832.) He was managing her for bipolar disorder, PTSD,
anxiety disorder, and chronic insomnia, noting that she was also challenged by chronic
fibromyalgia with generalized pain. He indicated that her mood instability was controlled by
medications, the medications also blunted the severity of her PTSD symptoms, and her
insomnia was generally controlled by medications. (Tr. at 834.)
        On February 8, 2016, Dr. Schenck again noted a normal mental status exam aside from
anxious and depressed mood. (Tr. at 836.) She reported working part-time as a Tupperware
consultant, which had improved her mental health. Her mood instability remained controlled
by medications, her PTSD symptoms were fairly well controlled, medications blunted the
severity of her anxiety and depressive symptoms, and her insomnia was generally controlled
by medications. (Tr. at 838.)
        On March 10, 2016, plaintiff reported being in a manic state for the past month with
impulsive actions, fast thoughts, and reduced sleep needs. She was at that time back to
baseline apart from poor sleep. On interview, she was calm with normal speech and thought
production, without any flight of ideas. However, they agreed to a modest dose increase of her
mood stabilizer medication, also adding a new medication for her aggravated insomnia. She
was taking some time off from her part-time Tupperware job until she felt more stable and had
better sleep. (Tr. at 938.) Mental status exam showed that plaintiff was oriented x3, with
normal eye contact, well groomed appearance, normal motor/gait, normal muscle
strength/tone, normal speech, cooperative attitude, anxious and depressed mood, appropriate
affect, logical thought content (but preoccupied by her recent manic episode and her health),

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intact insight/judgment, intact memory, and focused attention span/concentration. (Tr. at 940.)
        On April 25, 2016, plaintiff “reported remarkable improvement in mood stability and in
her sleep with the med changes initiated at our last appt. She is very pleased, and there has
also been benefit with improved health and less medical symptoms with her obtaining reliable
good sleep, esp. the maintenance of good sleep. Her prolonged PTSD and GAD are stable
with therapy.” (Tr. at 933.) Dr. Schenck’s mental status exam revealed that plaintiff was
oriented x3, with normal eye contact, well groomed appearance, normal motor/gait, normal
muscle strength/tone, normal speech, cooperative attitude, normal mood, appropriate affect,
logical thought content, intact insight/judgment, intact memory, and focused attention
span/concentration. (Tr. at 935.)
        On June 20, 2016, plaintiff reported that, overall, she felt more stable, and Dr. Schenck
noted that her prolonged PTSD and anxiety disorder were stable with pharmacotherapy. Their
next appointment would be the last before her move to Wisconsin. (Tr. at 928.) Mental status
exam again showed orientation x3, normal eye contact, well groomed appearance, normal
motor/gait, normal muscle strength/tone, normal speech, cooperative attitude, normal mood,
appropriate affect, logical thought content, intact insight/judgment, intact memory, and focused
attention span/concentration. (Tr. at 930.)
        On September 1, 2016, Dr. Schenck noted that plaintiff and her parents were moving
to Wisconsin to be closer to plaintiff’s brother; this was their last appointment. Plaintiff
expressed enthusiasm about the move. (Tr. at 923.) Mental status exam again showed that
plaintiff was oriented x3, with normal eye contact, well groomed appearance, normal motor/gait,
normal muscle strength/tone, normal speech, cooperative attitude, normal mood, appropriate
affect, logical thought content, intact insight/judgment, intact memory, and focused attention
span/concentration. (Tr. at 925.)
        On December 5, 2016, plaintiff established care with Dr. Laura Lietzau after the move
to Wisconsin. Dr. Lietzau noted plaintiff’s various conditions: diabetes (blood sugars have been
labile); bipolar disorder (on medications, needs to re-establish with psychiatry); and
fibromyalgia (using Cymbalta, generally well-controlled, but with some worsening pain on the
right side since starting a new job at a desk with a computer). (Tr. at 373-74.) Psychiatric
exam was normal. (Tr. at 377.) On December 19, Dr. Lietzau noted that plaintiff’s diabetes
was poorly controlled. (Tr. at 387, 392.) Her fibromyalgia was generally well controlled but with
increased generalized pain recently. Plaintiff also had asthma, reporting that she was
constantly short of breath and had gained 40 pounds. (Tr. at 388.)
        On March 10, 2017, plaintiff established psychiatric care with nurse practitioner Carmen
Kosicek at Alay Health. (Tr. at 577.) On mental status exam, she appeared clean, friendly,
cooperative, and alert, with appropriate mood and affect, normal speech and motor activity,
normal thought content, intact concentration and judgment, good insight, unimpaired memory,
and good attention span. (Tr. at 581.) Kosicek diagnosed bipolar disorder and depression,
noting that they would consider injection products for treatment. (Tr. at 582.)
        On March 17, 2017, plaintiff told Kosicek her medications were helping. (Tr. at 568.)
Mental status exam was the same as the previous visit. (Tr. at 575-76.)
        On March 22, 2017, plaintiff was seen for a diagnostic evaluation at Christian Family
Counseling. She had been working 16 hours/week at the YMCA but was struggling with panic
attacks and took a leave of absence. Medication was starting to help; she was handling anger
better and having small amounts of motivation. (Tr. at 398.) Mental status exam at that time

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was mixed: she appeared disheveled and anxious, but with normal speech and unremarkable
motor activity. (Tr. at 399.)
         On March 28, 2017, plaintiff was seen for right foot and ankle pain. (Tr. at 423, 891,
895.) X-rays of the right foot showed no acute fracture or dislocation, but some mild arthritic
changes and soft tissue swelling. (Tr. at 888-89.) X-rays of right ankle showed no fracture or
subluxation, but mild osteoarthritis and diffuse soft tissue edema. (Tr. at 890.)
         On April 12, 2017, plaintiff saw Caroline Plankers at Alay Health for an Abilify injection.
She stated: “I really feel good.” (Tr. at 559.) On mental status exam, she appeared clean,
friendly, cooperative, and alert; with appropriate mood and affect; normal speech, motor
activity, and thought content; intact concentration and judgment; and good insight, memory and
attention span. (Tr. at 566-67.)
         On April 13, 2017, plaintiff started counseling with Arrian Tauer, MS. (Tr. at 401.)
Plaintiff reported that her symptoms had been lower in Minnesota, where she had a good team
of providers, increased since her move. She also stated that taking on a new job was too much
after the move. (Tr. at 401.) She was to be seen for weekly therapy. (Tr. at 402.)
         On April 27, 2017, plaintiff advised Tauer she was struggling with daily tasks due to a
fibromyalgia flare and not being connected with a pain specialist. (Tr. at 403.) She was still
adjusting to the move to Wisconsin, attempting to create a care team. (Tr. at 404.)
         An April 25, 2017, note indicated that plaintiff’s right-sided ankle and foot pain had
resolved (Tr. at 424), and her range of motion was improved (Tr. at 427). X-rays showed no
acute fracture but some degenerative changes. (Tr. at 428.)
         On April 25, 2017, plaintiff saw Dr. Lauren Bremberger to establish primary care. She
also needed to reestablish care with pain management for her fibromyalgia. Triggers include
stress and certain activities. (Tr. at 463.)
         On April 28 2017, plaintiff came to her session with Tauer tearful and quiet, concerned
about financial struggles. (Tr. at 405, 757.) Her progress rating was “no change.” (Tr. at 406,
758.) On May 4, plaintiff reported that she felt like a burden on her parents. She also reported
increased physical pain over the last two weeks. She had picked up extra shifts to get out of
the house and make more money. (Tr. at 407.) Tauer noted moderate improvement. (Tr. at
408.) On May 11, plaintiff reported feeling very sad, arguing with her father. (Tr. at 409.)
Tauer noted steady improvement. (Tr. at 410.)
         On May 11, 2017, plaintiff told Kosicek. “I feel SO good.” (Tr. at 548.) Mental status
exam revealed her to be clean, friendly, cooperative, and alert, with appropriate mood and
affect, normal speech and motor activity, normal thought content, intact concentration and
judgment, good insight, unimpaired memory, and good attention span. (Tr. at 555-56.)
         On May 23, 2017, plaintiff saw Dr. David Tylicki regarding her fibromyalgia and right
leg/foot pain. She had been on gabapentin until it stopped working, had tried Cymbalta without
benefit, and had never been on Lyrica. (Tr. at 429.) On exam, Dr. Tylicki noted 13/18 tender
points (Tr. at 433), positive straight leg raise on the right, 5/5 strength, intact sensation, and no
dynamic weakness with ambulation. He referred her for a sleep consult and prescribed Lyrica
and a physical therapy/lumbar spine stabilization program. (Tr. at 434.)
         On May 25, 2017, plaintiff told Tauer that she continued to struggle with family issues,
life stressors, and an increase of negative thinking. She indicated that the pain management
provider she had seen said he did not believe in fibromyalgia and that exercise was the answer;
she felt invalidated. (Tr. at 751.) On June 1, plaintiff reported an increase in out of control

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anxiety, continuing to limit life participation, an increase in crying spells, and continuing to be
hypercritical of herself. She reported being so anxious the previous day she had to cancel her
cat’s vet appointment. (Tr. at 749.)
        In June 6, 2017, plaintiff was seen for a diabetes evaluation. Originally diagnosed in
1994, she had been hospitalized in past, last in 2001. (Tr. at 474.) Her medications were
continued. (Tr. at 478.)
        On June 8, 2017, Tauer noted the same problem symptoms: increase in out of control
anxiety, continues to limit life participation, and continues to be hypercritical of herself. Plaintiff
was struggling with emotional response homework. (Tr. at 747.)
        On June 8, 2017, plaintiff told Kosicek she did very well until the third week after her
monthly injection, then become tearful and anxious again. (Tr. at 537.) Kosicek’s mental
status exam revealed plaintiff to be clean, friendly, cooperative, and alert, with appropriate
mood and affect, normal speech and motor activity, normal thought content, intact
concentration and judgment, good insight, unimpaired memory, and good attention span. (Tr.
at 544-45.)
        On June 16, 2017, plaintiff underwent an eye exam, which revealed signs of mild
diabetic retinopathy. (Tr. at 445.)
        On June 16, 2017, Tauer again listed the same problem symptoms. (Tr. at 745.)
Plaintiff felt that living in an apartment with her parents was stifling. (Tr. at 746.)
        On July 11, 2017, plaintiff saw Dr. Carly Skamra for a fibromyalgia evaluation. Dr.
Tylicki had recommended physical therapy. Plaintiff indicated that she had tried Lyrica,
Cymbalta, and gabapentin, all of which worked at first then stopped. She reported severe
fatigue, mental fogging, and concomitant depression. (Tr. at 584.) On exam, she displayed
normal strength but 18/18 tender points. Dr. Skamra indicated that plaintiff needed a
comprehensive pain management program. (Tr. at 585.)
        On July 13, 2017, plaintiff told Kosicek her anxiety had increased; she was unsure if the
anxiety related to chronic fibromyalgia pain. She was trying to find a pain management doctor.
(Tr. at 526.) Mental status exam again revealed her to be clean, friendly, cooperative, and
alert, with appropriate mood and affect, normal speech and motor activity, normal thought
content, intact concentration and judgment, good insight, unimpaired memory, and good
attention span. (Tr. at 533-34.)
        On July 25, 2017, plaintiff saw Dr. Bremberger, indicating she did not feel Dr. Tylicki was
helpful. (Tr. at 480.) For her bipolar disorder, she was on injectable Abilify. (Tr. at 481.) She
requested completion of forms to excuse her from federal student loans due to disability. Dr.
Bremberger stated: “I request she follow up with the SSA or we can try to refer her for an
occupational exam to determine disability status. I am not comfortable signing this form and
discussed this with her today.” (Tr. at 487.)
        On August 3, 2017, Tauer recorded the same problem symptoms. Plaintiff indicted that
she had taken a trip to Minnesota, which was tiring, but she felt reconnected with her friends.
(Tr. at 743.) They discussed ways of connecting with people in Wisconsin. Plaintiff was also
in the process of revising medications with Kosicek, as she felt manic again. (Tr. at 744.)
        On August 10, 2017, plaintiff told Tauer that she felt clear headed and creative. (Tr. at
741.) She had been house sitting, caring for a dog, and working three days per week. She
had been able to manage this with success and little anxiety. (Tr. at 742.) Plaintiff also saw
Kosicek that day, reporting: “I’m doing really well.” (Tr. at 515.) Kosocek’s mental status exam

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recorded the same positive findings (e.g., cooperative, intact concentration and judgment, good
insight, unimpaired memory, and good attention span) as the previous visit. (Tr. at 522-23.)
         On August 15, 2017, plaintiff saw Dr. Yechiel Kleen for evaluation of her generalized
pain. Plaintiff reported constant pain all over her body, affecting her sleep pattern. (Tr. at 978.)
On exam, strength was 5/5 in all four extremities, light touch intact, and straight leg raising 40
degrees bilaterally in the sitting position, most likely due to body habitus. Her gait was
essentially within normal limits, and she was able to stand on heels and toes although it was
difficult. Dr. Kleen noted plaintiff was morbidly obese but with no muscle atrophy in the upper
or lower extremities. He assessed chronic pain syndrome involving essentially all her body,
fibromyalgia, physical de-conditioning secondary to these conditions, sleep difficulties, and
morbid obesity. He referred her for hydro therapy and to a pain psychologist. (Tr. at 979,
2114.)
         On August 24, 2017, plaintiff started aquatic therapy. (Tr. at 989.) She described pain
from the top of her head to the tips of her toes, as well as fibro fog, exhaustion, and anxiety.
She tolerated standing for 15 minutes, walking for 15 minutes, and sitting for 60 minutes. (Tr.
at 990.) She was then working one day per week, substituting at other times. (Tr. at 991.) She
ambulated without an assistive device, with wide base of support and an antalgic gait pattern.
(Tr. at 992.) She was scheduled for 12 visits (Tr. at 995), with the notes indicating she
tolerated therapy well, felt she was getting better (Tr. at 1005, 1014, 1021, 1034, 1045), with
improved endurance for walking, standing and completing daily tasks, and decrease in overall
pain rating (Tr. at 1047). On October 5, it was recommended she continue with independent
strengthening in the pool two to three days per week. (Tr. at 1048.)
         On August 31, 2017, plaintiff was seen for iron deficiency, following her 2003 gastric
bypass. (Tr. at 450.) She had been able to lose 180 pounds after the surgery, but her weight
had plateaued and she remained overweight. (Tr. at 452.)
         On September 11, 2017, Dr. Schenck completed a medical source statement, indicating
that plaintiff was unable to work due to her mental impairments: PTSD, bipolar, and generalized
anxiety disorder. He stated that she experienced unpredictable shifts in mood and anxiety, and
great variability in her ability to interact with other people. (Tr. at 595.)
         On September 22, 2017, plaintiff returned to Tauer, looking disheveled and with poor
eye contact. (Tr. at 739.) She reported feeling very sad over the past two weeks but not able
to identify a trigger. Home and work issues remained the same. She was doing hydrotherapy,
feeling very good after. (Tr. at 740.) On September 29, Tauer and plaintiff explored the
possibility that her sadness was a normal response to missing friends in Minnesota v. “new”
symptoms of mental illness. (Tr. at 738.) On October 6, plaintiff reported a reduction in feeling
manic. (Tr. at 735-36.) She continued to do water therapy, scheduled to meet with her pain
doctor for further authorization. She reported feeling less pain, able to walk farther. (Tr. at
736.)
         On October 12, 2017, plaintiff told Kosicek her depression was not as bad, but
“Something is just off.” (Tr. at 505.) Her response to medications was good but not great. (Tr.
at 505.) On mental status exam, she appeared clean, friendly, cooperative, and alert, with
appropriate affect, normal speech and motor activity, intact concentration and judgment, good
insight, unimpaired memory, and good attention span. (Tr. at 512-13.)
         On October 16, 2017, plaintiff saw Dr. Kleen for follow up of generalized pain. She had
finished her water therapy sessions, and it helped that she saw she could do more than she

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thought, but she did not feel it helped her pain. She would be joining the YMCA and doing
exercises there. She had not yet seen the pain psychologist. (Tr. at 1054.)
        On November 3, 2017, plaintiff told Tauer she felt more level after a recent medication
change. She was worried about an upcoming move. (Tr. at 734.)
        On November 28, 2017, plaintiff saw Dr. Bremberger for rash, cough, and headache.
She also asked Dr. Bremberger to complete a disability form. Dr. Bremberger stated: “I am
unable to ethically complete her form today as she is currently working. I directed her to
occupational health and/or the Social Security Administration if she is looking to obtain
disability qualifications and/or work restrictions.” (Tr. at 1317.) Dr. Bremberger further stated:
“She is requesting that I complete a form stating that she is an able-bodied individual without
dependents that can’t work. She is working 3 hours per week right now. The county is
requesting the form for a work exemption program.” (Tr. at 1318.)
        On December 12, 2017, plaintiff told Kosicek “that things are going really well. She is
loving the injections and is so thankful for them.” (Tr. at 617.) Mental status exam again
revealed her to be clean, friendly, cooperative, and alert, with appropriate mood and affect,
normal speech and motor activity, normal thought content, intact concentration and judgment,
good insight, unimpaired memory, and good attention span. (Tr. at 624-25.)
        On January 9, 2018, plaintiff returned to Dr. Bremberger, noting her rash had improved
but never went entirely away. (Tr. at 2256.) Dr. Bremberger noted a BMI of 53.16. Plaintiff
appeared alert and oriented x3, with normal mood, affect, and behavior. (Tr. at 2257.)
        On January 12, 2018, Tauer noted the same problem symptom list as previously. (Tr.
at 731.) Plaintiff reported she had been depressed for the last six weeks and asked about an
increase in medication. Plaintiff also noted her car had been repossessed, resulting in lost
independence and inability to visit friends. Tauer noted this would make anyone feel blue. (Tr.
at 732.)
        On January 13, 2018, plaintiff saw Dr. Bremberger for follow up. (Tr. at 1364.) The rash
improved but never went away. (Tr. at 1365.) Plaintiff displayed normal mood, affect, and
behavior. (Tr. at 1366.) On January 16, plaintiff saw Amy Galati, DPM (podiatrist), for painful
elongated nails. (Tr. at 2281.)
        On February 1, 2018, plaintiff told Tauer she was worried that her depression had
returned; current stressors included financial issues, increased pain from fibromyalgia, and her
parents’ poor health. (Tr. at 729-30.) She reported that prior to these recent stressors she felt
the best she had in a long time. Her fibromyalgia pain was higher, and her insurance had
stopped authorizing the water therapy she was doing. (Tr. at 730.)
        On February 5, 2018, plaintiff saw Dr. Bremberger for cellulitis, medication management,
and diabetes. (Tr. at 1397.) On February 9, Dr. Bremberger noted diagnoses of type 2
diabetes with retinopathy, chronic, stable; fibromyalgia, chronic, stable; chronic pain syndrome,
chronic, stable; peripheral polyneuropathy, chronic, stable; and physical de-conditioning,
chronic, stable. At that time, Dr. Bremberger agreed to complete a form medical statement for
plaintiff’s disability claim, stating: “Forms completed with patient today to the best of my ability
per her request and sent for scanning.” (Tr. at 1419.) “Here with request to review and
complete form regarding work capacity in setting of her chronic medical conditions. She will
also be having similar forms completed with her psychiatrist for her chronic mental conditions.
We went through the forms together today based on her recent visits and chronic medical
problems.” (Tr. at 1420.)

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        In the February 9, 2018, diabetes medical source statement, Dr. Bremberger listed
diagnoses of fibromyalgia, chronic pain syndrome, peripheral neuropathy, physical de-
conditioning, and type 2 diabetes with retinopathy and long-term use of insulin. (Tr. at 597.)
Dr. Bremberger check boxes indicating plaintiff would be off task 25% of the day, work at less
than 50% efficiency, could sit and stand/walk less than two hours in eight-hour workday (lying
down during the remainder due to fatigue), needed four unscheduled breaks per day, could
occasionally lift 10 pounds, occasionally use her hands and fingers, and would have more than
four absences per month. (Tr. at 598-99.) On the same date, Dr. Bremberger completed a
lower extremity edema form, indicating plaintiff needed to elevate her legs at least two hours
during an eight hour daytime period. (Tr. at 600.)
        On February 13, 2018, plaintiff told Kosicek she quit her job in January. “I just don’t
have any energy to do anything.” (Tr. at 605.) Kosicek’s mental status exam revealed plaintiff
to be clean, friendly, cooperative, and alert, with appropriate mood and affect, normal speech
and motor activity, intact concentration and judgment, good insight, unimpaired memory, and
good attention span. (Tr. at 613-14.)
        On February 19, 2018, plaintiff was seen at Forefront Dermatology for a rash. (Tr. at
2189.) She was given hydrocortisone ointment. (Tr. at 2191.)
        On February 20, 2018, Tauer noted the same problem symptoms. (Tr. at 727.) Plaintiff
had not been taking Effexor. (Tr. at 727-28.)
        On February 20, 2018, Kosicek completed a mental impairment medical source
statement. She indicated that plaintiff experienced severe fatigue, needing to lie down three
or more hours during the workday (Tr. at 589); would have difficulty relating appropriately to
others several times a week or more often; would miss more than four days of work per month
and would be unable to leave home independently more than four days per month; would need
unscheduled breaks two to three times during the workday (Tr. at 590); would be off task more
than 30% of the time and work at less than 50% efficiency; and would need redirection one to
two times per day. (Tr. at 591.) Kosicek also endorsed marked limitations in the four
paragraph B areas and indicated plaintiff had minimal ability to adapt to changes. (Tr. at 592-
93.)
        Tauer also completed a mental impairment medical source statement on February 20,
2018. She opined that plaintiff experienced severe fatigue, needing to lie down three or more
hours during the workday (Tr. at 714); would have difficulty relating appropriately to others
several times a week or more often; would miss more than four days of work per month and
be unable to leave home independently more than four days per month; would need
unscheduled breaks two to three times per workday (Tr. at 715); would be off task more than
30% of the time and work at less than 50% efficiencyl and would need an unusual level of
supervision three-plus times per day. (Tr. at 716.) Tauer also endorsed marked limitations in
the four paragraph B areas, with minimal ability to adapt to changes. (Tr. at 717-18.)
        On February 21, 2018, plaintiff saw Dr. Shubhi Sehgal for evaluation of type 2 diabetes
at the request of Dr. Bremberger. (Tr. at 2065.) She reported numbness and tingling in the
feet. (Tr. at 2066.) Dr. Sehgal noted mild non-proliferative retinopathy without macular edema
and diabetic neuropathy with stable symptoms. (Tr. at 2070.) He continued her medications,
with a return in three months. (Tr. at 2071.)
        On March 2, 2018, therapist Johnson completed a medical source statement. Johnson
indicated she started seeing plaintiff on 4/8/08 for bipolar disorder, PTSD, and anxiety disorder.

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Johnson indicated that plaintiff experienced at least episodic severe fatigue and would need
to lie down three or more hours in a typical eight-hour daytime period (Tr. at 916); would have
difficulty interacting with or working in proximity to others several times a week or more (Tr. at
916, 918); would likely miss more than four days of work per month due to the need for
treatment or bad days with symptoms (Tr. at 918); would be unable to independently leave her
residence more than four days per month (Tr. at 918); would need unscheduled breaks of at
least fifteen minutes several times per day (Tr. at 918); would be off task more than 30% of the
time and perform at less than 50% efficiency (Tr. at 919); would be unable to start or complete
tasks without an unusual level of supervision one to two times a day (Tr. at 919); exhibited a
pain or somatic symptom disorder and when symptoms flared would have difficulty coping with
any situation (Tr. at 919); experienced a marked impairment in each of the four paragraph B
criteria (Tr. at 920-21); and her mental disorders resulted in marginal adjustment, meaning she
had minimal capacity to adapt to changes (Tr. at 921).
         On March 5, 2018, Dr. Schenck completed a mental impairment medical source
statement, listing diagnoses of bipolar 2 disorder, prolonged PTSD, generalized anxiety
disorder, and insomnia. (Tr. at 2056.) Dr. Schenck opined that plaintiff suffered from episodic
severe fatigue due to depressed mood, and would likely need to lie down two hours during a
typical eight-hour daytime period, variable depending on the level of depression (Tr. at 2056);
would likely have difficulty interacting or working in proximity to others, with trouble responding
appropriately to criticism from supervisors; would likely miss more than four days per month
due to the negative interaction of bipolar and PTSD symptoms; would be unable to travel
independently more than four days per month due to the negative interaction of PTSD, bipolar
and anxiety symptoms; would need unscheduled breaks two to three times per day due to
powerful negative interactions of PTSD, generalized anxiety, and bipolar symptoms (Tr. at
2057); would be off task 25% of the workday and work at less than 50% efficiency; and would
be unable to complete even simple work tasks without an unusual level of supervision several
times per week (Tr. at 2057). He indicated this was a “best guess” answer given her level of
major psychiatric disorders and their negative interactions. (Tr. at 2058.) He found marked
limitations in interacting with others; concentrating, persisting, and maintaining pace; and
adapting or managing oneself; but not in understanding, remembering and applying
information. (Tr. at 2059-60.)
         On March 23, 2018, plaintiff returned to Forefront Dermatology, her rash 60% improved.
(Tr. at 2192.)
         On March 27, 2018, Tauer noted plaintiff’s reports of an increase in out of control anxiety
regarding everyday tasks, catastrophic thinking, and inability to stop ruminating thoughts. She
continued to limit life participation, sleeping and hiding in her bedroom more, with an increase
in crying spells. (Tr. at 2219.)
         On April 10, 2018, plaintiff told Kosicek, “I am sleeping 6 hours and feeling tired during
the day. I am drinking two cups of coffee per day. Last coffee drink is around 1 pm. I am
attending therapy and it helps me care for myself and set life goals. I am having hallucinations
like going over rail road and train hitting me. I am always worried about something.” (Tr. at
1821-22.) She needed medication refills and her injection. Kosicek noted her response to
medications was positive but could be better. (Tr. at 1822.) On mental status exam, she
appeared clean and well-groomed, with a steady gait; her attitude was friendly and cooperative;
her level of awareness alert; eye contact good; mood appropriate; affect appropriate; motor

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activity normal; gait steady; oriented x4; psychomotor activity normal; speech normal; thought
process logical, relevant, and able to follow commands and recall a time-line of events; thought
flow and content normal; concentration intact and adequate; judgment intact; insight good;
memory not impaired; and attention span good. (Tr. at 2342-43.)
        On April 10, 2018, Tauer noted the same problem symptoms as on previous notes
(increase in out of control anxiety, continues to limit life participation, and continues to be
hypercritical of herself). (Tr. at 2221.) Tauer also noted plaintiff’s mental status: thought
process logical and coherent, mood anxious, fully oriented, and attitude cooperative. (Tr. at
2221.) Plaintiff reported she had a panic attack last week and could not leave her apartment
for two days. (Tr. at 2221-22.) She also reported increased pain, using Tylenol. (Tr. at 2222.)
        On May 29, 2018, Tauer noted the same problem symptom list. Mental status was the
same as the previous visit: thought process logical and coherent, mood anxious, fully oriented,
and attitude cooperative. (Tr. at 2223.) Plaintiff reported her disability claim was again denied,
and she was frustrated. (Tr. at 2223-24.) She spent three days in bed as a result of that
decision. Kosicek had added a medication, and plaintiff felt less depressed but it made her
hungry. She reported struggling with reading or completing complex tasks as she felt she got
lost in the language or frustrated she did not understand the story line. (Tr. at 2224.)
        On June 12, 2018, Tauer noted the same mental status (logical and coherent thought
process, anxious mood, fully oriented, and cooperative attitude). (Tr. at 2225.) Plaintiff came
to the session tearful and shaking, concerned about her father’s failing health. She had
weaned herself off Klonapin as it made her more agitated, and she had gained 18 pounds.
She was to meet with Kosicek that day to discuss medications. (Tr. at 2226.)
        On June 12, 2018, plaintiff told Kosicek her symptoms had increased in severity. (Tr.
at 1823.) Kosicek made several notations—prognosis: regressing, functional status: fair,
stable; and impression: engaged. She needed a change in medication. “I had a lot of mood
swings lately. I feel flat. I’ve felt this way for about a month or two.” “Sleep is good on the
medication.” (Tr. at 1824.) Mental status exam revealed a clean appearance, well-groomed;
friendly, cooperative attitude; alert level of awareness; good eye contact; appropriate mood and
affect; normal motor activity normal; steady gait; oriented x4; normal psychomotor activity and
speech; thought process logical, relevant, and able to follow commands and recall a time-line
of events; thought flow and content normal; concentration intact, adequate; judgment intact;
insight good; memory not impaired; and attention span good. (Tr. at 2333-34.)
        On June 26, 2018, Tauer noted the same mental status (logical and coherent thought
process, anxious mood, fully oriented, and cooperative attitude). (Tr. at 2227.) Plaintiff
reported she met with Kosicek and her medications were adjusted. (Tr. at 2227-28.) She had
gotten her car back and was helping her mom more. (Tr. at 2228.)
        On July 6, 2018, plaintiff saw Dr. Sehgal. (Tr. at 2073.) He noted normal range of
motion of all joints (Tr. at 2076) and continued medications (Tr. at 2077).
        On July 23, 2018, plaintiff told Kosicek her symptoms had increased in severity. (Tr. at
1825.) Kosicek noted plaintiff’s functional status as fair, stable, indicating she was doing better
since titrated off Klonopin. “Not working yet. Home full time.’ (Tr. at 1826.) On mental status
exam, plaintiff appeared clean and well-groomed, with a friendly, cooperative attitude; alert
level of awareness; good eye contact; appropriate mood and affect; normal motor activity;
steady gait; oriented x4; normal psychomotor activity and speech; logical and relevant thought
process, able to follow commands and recall a time-line of events; normal thought flow and

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content; intact and adequate concentration; intact judgment; good insight; unimpaired memory;
and good attention span. (Tr. at 2318-19.)
        On August 2, 2018, Tauer noted the same mental status: logical and coherent thought
process, anxious mood, fully oriented, and cooperative attitude. (Tr. at 2229.) Plaintiff came
into the session tearful, with flat affect and rigid body posture. (Tr. at 2229.) She was
frustrated with not feeling better, medication changes not helping. She felt like she had no
purpose in her life. (Tr. at 2230.)
        On August 16, 2018, Tauer noted the same mental status. (Tr. at 2499.) Plaintiff came
into the session tearful, shaking, and reporting that she was feeling very down and depressed.
(Tr, at 2499-500.) She was sleeping more, feeling overwhelmed, with increased racing
thoughts. She had a panic attack looking at job ads. She had gained 70 pounds with
medication changes, feeling very physically restricted. (Tr. at 2500.)
        On August 28, 2018, Kosicek noted plaintiff appeared to be regressing. (Tr. at 1827-28.)
Plaintiff stated: “I really have been so depressed again. I’m disengaged from life . . . just not
doing well. I’m having issues going to sleep and staying asleep. During the day I’m very
anxious. I know I need my meds adjusted, that’s why I’m here.” (Tr. at 1828.) Kosicek’s
mental status exam nevertheless contained “good,” “appropriate,” “normal,” and “intact”
findings, as previously. (Tr. at 1960-61.)
        On August 30, 2018, Tauer again noted logical and coherent thought process, anxious
mood, fully oriented, and cooperative attitude. (Tr. at 2501.) Plaintiff reported being frustrated
with Kosicek, as her current medications continued to increase her weight, and she continued
to feel increased depression, sleeping 14-16 hours. She was looking forward to rejoining a
church group. She also reported increased fibromyalgia pain with all of the weather changes.
(Tr. at 2502.)
        On September 4, 2018, plaintiff told Kosicek: “I just can’t seem to get rid of my
depression and anxiety.” (Tr. at 1937-38.) She got depressed because she was not doing
anything but got really anxious when she tried to do anything. (Tr. at 1938.) Kosicek’s mental
status exam again revealed clean and well-groomed appearance, friendly and cooperative
attitude, good eye contact, appropriate mood and affect, normal motor activity and speech,
logical thought process, ability to follow commands and recall a time-line of events, intact
concentration and judgment, good insight, unimpaired memory, and good attention span. (Tr.
at 1946-47.)
        On September 11, 2018, plaintiff returned to podiatrist Galati regarding painful elongated
nails in both feet, causing pain with walking, and requesting a diabetic foot exam. She reported
ongoing lower extremity edema. (Tr. at 2078.) On exam, Dr. Galati noted edema in the
bilateral lower legs and some decreased sensation, but 5/5 muscle strength bilaterally,
symmetrical muscle mass, and full range of motion. (Tr. at 2082.)
        On September 20, 2018, plaintiff told Kosicek: “I’ve just been so down that it is
challenging to concentrate and I knew that if I came in, you could help me.” (Tr. at 1820.)
Kosicek reviewed medications with plaintiff, including when to take them. (Tr. at 1820.) Mental
status exam again revealed clean and well-groomed appearance, friendly and cooperative
attitude, good eye contact, appropriate mood and affect, normal motor activity normal and
speech, logical thought process, ability to follow commands and recall a time-line of events,
intact concentration and judgment, good insight, unimpaired memory, and good attention span.
(Tr. at 2360-61.)

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        On September 25, 2018, plaintiff told Kosicek her symptoms had decreased in severity.
(Tr. at 1924.) She noticed a little bit of difference with the new medication, still feeling “blah”
with no energy, but it was better. She reported no manic symptoms. (Tr. at 1925.) Mental
status exam was essentially the same as the previous visit. (Tr. at 1933-34.)
        On October 5, 2018, plaintiff saw Dr. Bremberger for a routine exam and cough, nausea.
(Tr. at 1981.) Her BMI was 55.53, and her general appearance alert, cooperative, and well
groomed. (Tr. at 1986.) Dr. Bremberger noted normal mood and appropriate affect. (Tr. at
1987.) She further noted mild persistent asthma. (Tr. at 1988.)
        On October 11, 2018, Tauer noted the same mental status findings as previous visits:
logical and coherent thought process, anxious mood, fully oriented, and cooperative attitude.
(Tr. at 2503.) In the narrative section of the note, Tauer indicated that plaintiff came to the
session with very flat affect, poor eye contact, and spoke softly. (Tr. at 2503-04.) She felt
hopeless and helpless at times, and she struggled to complex tasks. (Tr. at 2504.)
        On October 23, 2018, plaintiff provided a mixed report to Kosicek. (Tr. at 1916.)
“Things are pretty good. I just feel real depressed now. No periods of mania, just depressed
most days.” Her anxiety had improved with medications. She needed to find a new counselor,
as Tauer was leaving. (Tr. at 1917.) Kosicek’s mental status exam was also mixed, noting a
disheveled appearance, guarded attitude, fluctuating level of awareness, limited eye contact,
depressed mood with congruent affect, hyperactive motor activity, psychomotor activity
retardation, slow/hesitant speech, fluctuating concentration, poor judgment and insight, and
impaired memory, but with logical thought process, the ability to follow commands and recall
a time-line of events, no suicidal intent, and fair attention span. (Tr. at 1920-21.)
        On October 25, 2018, Tauer noted the same mental status as at her previous sessions
with plaintiff: thought process logical and coherent, mood anxious, fully oriented, and attitude
cooperative. (Tr. at 2505.) Plaintiff had started on a new medication for resistant depression
and chronic pain. (Tr. at 2505-06.) She reported difficulty sleeping at night, anhedonia, low
energy, and feeling like she was in a fog. (Tr. at 2506.) Tauer noted that she was leaving the
practice, and plaintiff was going to see a provider closer to her home. Tauer noted that plaintiff
had partially met the goals of treatment, starting some new self-care practices and increasing
her activities outside home, but she continued to struggle with the intensity of her depression.
(Tr. at 2507.) Plaintiff thereafter started counseling sessions with Debbie Wicker, but as
indicated above Wicker produced no notes from their sessions.
        On November 13, 2018, plaintiff told Kosicek: “Maybe I’m slightly better, but again, not
much.” (Tr. at 1908.) She reported that daily life was a chore and sleep a challenge as well.
“Overall, I’m really trying, but the depression is insurmountable.” (Tr. at 1908.) Kosicek
concluded that she needed a change of medication. (Tr. at 1910.) Mental status exam at that
time revealed some abnormalities, including disheveled appearance, depressed mood, variable
eye contact, slow/hesitant speech, and impaired concentration and judgment. However,
plaintiff also presented as friendly, alert, and fully oriented, with logical and relevant thought
process, no absent suicidal intent, unimpaired memory, and fair attention span. (Tr. at 1912-
13.)
        On December 11, 2018, plaintiff described her mood to Kosicek as “flat-lined.” She
reported fatigue and lack of interest, but denied irritability and mood swings. (Tr. at 1901.)
Kosicek reported her functional status as poor, stable. (Tr. at 1903.) On mental status exam,
plaintiff presented with a depressed mood and limited judgment, but a clean appearance,

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friendly and cooperative attitude, good eye contact, normal motor activity, logical and organized
thought process, the ability to follow commands and recall a time-line, normal thought content,
intact concentration, fair insight, unimpaired memory, and good attention span. (Tr. at 1904-
06.)
        On December 14, 2018, plaintiff saw Dr. Sehgal for follow up of her diabetes, with an
A1c of 8.0, up from 7.5 on February 21, 2018. She was inconsistently taking medications. (Tr.
at 2083.) Plaintiff reported numbness and tingling her feet. (Tr. at 2084.) On exam, Dr.
Sehgal noted no focal motor or sensory deficit and normal range of motion of all joints.
Medications were continued. (Tr. at 2086.)
        On January 3, 2019, plaintiff told Kosicek: “I’m so flat. I don’t want to live. I don’t have
a pain doctor right now. They had me on Cymbalta and it did not work. Neurontin was horrible
for me. Nothing works. I’m in bed all day just laying there from the pain. The pain is
contributing to the depression. I have zero desire, hope, positive anything. I’m just surviving.
I’m not suicidal.” (Tr. at 1894.) Kosicek noted plaintiff appeared to be regressing, with poor
functional status and in need of a change of medication. (Tr. at 1896.) She highly encouraged
plaintiff to seek inpatient status. (Tr. at 1897.) Kosicek’s mental status exam contained mixed
findings: disheveled appearance, cooperative attitude, alert level of awareness, good eye
contact, depressed mood, normal motor activity, full orientation, slow/hesitant speech, logical
thought process, ability to follow commands and recall a time-line, normal thought flow and
thought content, intact concentration, limited judgment, fair insight, unimpaired memory, and
good attention span. (Tr. at 1898-99.) Kosicek started plaintiff on lithium, continuing other
medications. (Tr. at 1900.)
        On January 14, 2019, Debbie Wicker prepared a mental impairment medical source
statement. Wicker opined that plaintiff exhibited severe fatigue due to depressed mood and
would likely need to lie down three or more hours during a typical eight-hour daytime period.
(Tr. at 2512.) Wicker wrote “N/A unemployed” in response to the questions on the form about
relating appropriately to others in a workplace, missed work due to symptoms or treatment, and
need for unscheduled breaks. (Tr. at 1512-13.) However, she then opined plaintiff would be
off task more than 30% of typical workday, would work at less than 50% efficiency, and could
not perform detailed work tasks. (Tr. at 2513.) She further opined that plaintiff would require
an unusual level of supervision several (three-plus) times per day (“hard to stay on task
because of anxiety and concentration issues”). She also endorsed pain and other somatic
complaints, noting plaintiff had been diagnosed with severe fibromyalgia. (Tr. at 2514.) Finally,
she endorsed marked impairment in all four areas of the paragraph B criteria (Tr. at 2514-15),
with marginal adjustment (“anxiety and depressed mood limit all ability to adapt to even small
changes in environment”) (Tr. at 2516).
        On January 16, 2019, plaintiff told Kosicek that “she feels better. Affect is better, feels
like she can think on her own now, and not as depressed. Still not near functioning on a daily
basis, but has noted feeling better since last visit.” (Tr. at 1887.) Kosicek noted an improved
prognosis and good functional status. (Tr. at 1889.) Mental status exam noted a depressed
mood but clean appearance, friendly and cooperative attitude, good eye contact, normal
speech and psychomotor activity, logical thought process, ability to follow commands and recall
a time-line, normal thought content, intact concentration and judgment, fair insight, and good
attention span good. (Tr. at 1890-92.)
        On February 11, 2019, plaintiff told Kosicek: “My depression is mainly around not having

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a purpose. I live at home and watch my parents watch TV. It is depressing.” (Tr. at 1880.)
Kosicek noted a slightly improving prognosis but not clinically significant, and a fair, stable
functional status. (Tr. at 1882.) Kosicek’s mental status exam again contained mixed findings
with disheveled appearance, cooperative attitude, good eye contact, depressed mood, full
orientation, normal psychomotor activity and speech normal, logical thought process, normal
thought flow and thought content, intact concentration, limited judgment, fair insight, unimpaired
memory, and fair attention span. (Tr. at 1884-85.)
        On February 13, 2019, plaintiff saw Dr. Andrew Vo, an orthopedist, for low back pain.
(Tr. at 2107.) On exam, Dr. Vo noted no edema, normal strength and reflexes, and normal
coordination and gait. He further noted normal mood, affect, speech, behavior, cognition, and
memory. (Tr. at 2108.) He recommended physical therapy and ordered a lumbar MRI. (Tr. at
2109.)
        On April 16, 2019, plaintiff saw Dr. Sehgal for diabetes follow up. (Tr. at 2087-88.) Her
A1c was 7.9. She again reported numbness and tingling in the feet. (Tr. at 2088.) Neurologic
exam found no focal motor or sensory deficit, and musculoskeletal exam revealed normal
range of motion of all joints. (Tr. at 2089.)
        On May 21, 2019, plaintiff saw Anton Sella, DPM (podiatrist), for a foot exam. (Tr. at
2091.) Dr. Sella noted some decreased sensation but 5/5 muscle strength bilaterally,
symmetrical muscle mass, and full range of motion. (Tr. at 2095.) He advised plaintiff to wear
good supportive shoes and emphasized the importance of blood sugar control. (Tr. at 2095.)
        On June 17, 2019, plaintiff told Kosicek the medications were working well, except she
was only sleeping five or six hours per night. She did note some improvement in mood since
the last visit. (Tr. at 1876.) On mental status exam, she appeared disheveled and depressed,
but with direct eye contact, normal speech, appropriate attitude, intact attention span and
concentration, orientation within normal limits, intact memory, judgment within normal limits,
insight within normal limits, intact abstract reasoning, able to complete simple computations,
and relevant thought content. (Tr. at 1877.)
        On August 19, 2019, plaintiff told Kosicek she felt “flat.” (Tr. at 1873.) She wanted to
stop one of her medications. She took Tylenol for fibromyalgia, indicating no other medications
helped. She reported mood swings, pain, and anxiety. (Tr. at 1873.) Mental status exam was
similar to the last visit, with depressed mood and disheveled appearance, but direct eye
contact, normal speech, coherent language, appropriate attitude, intact attention span and
concentration, orientation within normal limits, intact memory and judgment, good insight, and
relevant thought content. (Tr. at 1874.) Kosicek discontinued one medication. (Tr. at 1874.)
        On September 16, 2019, plaintiff saw Dr. Sehgal for diabetes follow up. Her A1c was
8.1, and she reported numbness and tingling in her feet. (Tr. at 2096.) Neurologic and
musculoskeletal exams were again largely normal. (Tr. at 2097.) Dr. Sehgal noted
uncontrolled type 2 diabetes with hyperglycemia, increasing medications. (Tr. at 2098.)
        On October 14, 2019, plaintiff saw Kosicek, indicating she was happy with the
medication change. “She felt much less flat with the [new medications] over the part 2 months.
She is not feeling depressed and hasn’t been feeling too moody, but knows it can change any
day, so she is very good about taking her medications daily.” (Tr. at 1870.) Mental status
exam at that time revealed disheveled appearance, direct eye contact, normal speech,
coherent language, appropriate attitude, intact attention span and concentration, orientation
within normal limits, intact memory, depressed mood, flat affect, intact judgment, good insight,

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intact abstract reasoning, ability to complete simple computations, and relevant thought
content. (Tr. at 1870-71.)
        On October 19, 2019, Wicker prepared a letter about plaintiff’s condition, indicating they
had been meeting weekly for the past year. Wicker stated that plaintiff was severely
emotionally impaired, likely as the result of abuse she suffered as a child. As a result of the
abuse, plaintiff felt the need for protection in all situations. If a place is welcoming and she
feels comfortable with the people, she is able to function. But in any new, unfriendly, or
unfamiliar circumstance, she has severe and debilitating panic attacks. When she tried to work
by herself, without her family present, she was terrorized and totally unable to function. This
had been occurring since she was 16 years old. Wicker indicated that someone from plaintiff’s
family must accompany her everywhere she goes until she feels comfortable. She spent the
majority of her life at home with her parents and almost never went anywhere without them.
She was only willing to meet with Wicker because her mother contacted Wicker and brought
her in for the first few sessions. Wicker tried to get plaintiff to meet at a coffee shop, rather
than a private room at the library, to help address her avoidance issues, but plaintiff was
completely terrorized by the thought of changing locations. Wicker concluded: “Dana’s
symptoms are consistent with a diagnosis of personality disorder characterized by avoidance.
Until Dana is able to overcome her need for ‘protection’ she will not be able to work.” (Tr. at
1869.)




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